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                                                                 Execution Version




                         MASTER SERVICES AGREEMENT


                                      between


                               GAZELLE UNIVERSITY,
                            an Arizona nonprofit corporation
                       (to be renamed Grand Canyon University)


                                        and


                       GRAND CANYON EDUCATION, INC.,
                             a Delaware corporation




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                             MASTER SERVICES AGREEMENT

       THIS MASTER SERVICES AGREEMENT (the “Agreement”) is entered into as of
this 1st day of July, 2018 (the “Effective Date”) by and between GRAND CANYON
EDUCATION, INC., a Delaware corporation (“Provider”), and GAZELLE UNIVERSITY, an
Arizona non-profit corporation (to be renamed Grand Canyon University) (“University”) (each, a
“Party” and, collectively, the “Parties”).

       A.    On the date hereof, University and Provider consummated certain transactions
contemplated by an Asset Purchase Agreement, dated the date hereof (the “Asset Purchase
Agreement”), pursuant to which University acquired the School Assets (as defined in the Asset
Purchase Agreement) previously owned by Provider.

       B.     Effective immediately following the consummation of the transactions
contemplated by the Asset Purchase Agreement, University changed its name to “Grand Canyon
University.”

      C.     University operates the postsecondary educational institution known as “Grand
Canyon University” and conducts Educational Activities on the Campus.

       D.       University has determined that it is in the best interests of University and its
students, faculty and staff to engage Provider to provide to University certain Services as such
Services are (i) set forth in this Agreement, (ii) set forth in one or more Services Addenda to this
Agreement, or (iii) mutually agreed by the Parties in writing, and has further determined that the
terms of this Agreement, including the Services Fees payable hereunder, are fair to the
University.

       E.      University has further determined that the implementation of the services
relationship between University and Provider as set forth in this Agreement is in alignment with
University’s mission and that the Services to be provided by Provider to University hereunder
will assist University in fulfilling that mission.

       F.       Provider desires to provide such Services to University.

       NOW, THEREFORE, in consideration of the foregoing and the mutual covenants
herein contained and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Parties agree as follows:

        1.     Definitions. Capitalized terms used in this Agreement and not otherwise defined
herein shall have the respective meanings ascribed to such terms in Exhibit A to this Agreement
or given to them in Exhibit B to this Agreement.

        2.    Certain Representations, Warranties and Covenants of the Parties. Each
Party hereby represents, warrants and covenants that, during the Initial Term of this Agreement
and any Renewal Term: (a) it has the requisite corporate power and authority to enter into this
Agreement; (b) the performance by such Party of its obligations under this Agreement shall not
constitute a material breach of, or otherwise contravene the terms of, any other agreement to


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which it is a party or under which it is otherwise bound; and (c) it has obtained or will obtain all
third party consents, authorizations and approvals (including Educational Approvals in the case
of University) necessary for it to perform its obligations and exercise its rights under this
Agreement.

       3.       Services Provided to University.

               3.1     Services to be Provided; Exclusivity. Provider shall, subject to the terms
and conditions in this Agreement and any applicable Services Addenda, provide to University
the specific set of technological, marketing, promotional, development and/or support Services
as are set forth on Exhibit B to this Agreement and in any Services Addenda. Additional
Services (and the terms thereof) may be added pursuant to the execution of a Services
Addendum. Services may be terminated as provided in this Agreement or in the applicable
Services Addendum. Subject to Provider’s performance of its obligations hereunder and to
Provider’s right to cure any failure by Provider to perform after receipt of written notice from
University and except as otherwise provided herein,

                                                                                        University
will not contract with any third party for the performance of any Exclusive Services, in each case
without the prior written consent of Provider to be granted in Provider’s sole discretion. The
Parties also acknowledge the exclusive nature of certain of the licenses granted to Provider in
Section 10 (Intellectual Property Rights). University’s determination to seek a third party
provider to provide Services, other than the Exclusive Services, shall have no effect on
University’s obligation to pay the Services Fees pursuant to Section 5 (Fees and Payments) and
as set forth and calculated on Exhibit D to this Agreement.

                3.2   Location of Services; Subcontracting. Provider shall provide the
Services from, and using Services Personnel located at, Provider’s premises; provided that
Provider may provide certain Services at the Campus as contemplated by this Agreement and as
reasonably necessary or appropriate for Provider to provide the Services. Notwithstanding the
foregoing, Provider may subcontract the performance of any one or more of the Services to third
parties (a) to the same extent that any such Services were subcontracted to third parties in the
normal course of Provider’s business prior to the Effective Date and (b) as otherwise determined
by Provider; provided that Provider shall remain responsible and liable for the performance, acts
and omissions of all such third party subcontractors; and provided further that Provider shall not
subcontract the performance of substantially all the Services.

                3.3     Services Addenda. To add Services in addition to those described in
Exhibit B, or to delete or materially change Services set forth on Exhibit B, the Parties shall enter
into one or more services addenda substantially in the form attached hereto as Exhibit C
(“Services Addenda”) which Services Addenda shall be numbered sequentially (e.g., Services
Addendum C-1, Services Addendum C-2, etc.). Each Services Addendum will be effective only
when signed by authorized representatives of the Parties and once finalized and signed by the
Parties, shall be incorporated by reference and deemed part of this Agreement. In the event of a
conflict between the terms of any Services Addendum and the body of the Agreement, the terms
and conditions of the Agreement shall control to the extent of the conflict (unless the Services
Addendum specifically identifies and overrides the conflicting term(s), in which event, the terms
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of the Services Addendum shall control for such Services Addendum). Notwithstanding
anything to the contrary, the term “Services Addenda” will also include any other written
documents exchanged by the Parties pursuant to which the Parties agree that Provider will
provide Services in addition to those described in Exhibit B to University. For purposes of
clarity, the Parties acknowledge and agree that any and all editions, versions, formats,
improvements, enhancements, updates, or other changes of or to the Provider Intellectual
Property (including the Platform) (collectively, “Updates”) that (a) are developed by Provider in
the ordinary course (whether on Provider’s own initiative, at the specific request of University,
or otherwise) in connection with providing the Services hereunder shall be promptly provided to
University as part of the Services set forth on Exhibit B to this Agreement, shall not be deemed
to constitute additional Services, shall not require a Services Addenda, and shall not otherwise
result in an additional fee or other charge to University, and (b) are (i) independently developed
by Provider otherwise than in connection with providing the Services hereunder (including any
such Updates as may be developed in the course of providing services to other third parties), or
(ii) developed by Provider, other than in the ordinary course, at the specific request of
University, shall, in each case, be deemed to constitute additional Services and, if desired by
University, shall require a Services Addenda and shall be subject to additional fees or other
charges as mutually negotiated by the Parties.

                3.4     Services and Performance Standards. Pursuant to the terms and
conditions of this Agreement, Provider will use commercially reasonable efforts to provide to
University the Services in accordance herewith and any applicable performance standards set
forth on Exhibit B and in the applicable Services Addendum. Provider shall perform the
Services in a good and workmanlike manner and (subject to Section 3.6 (Compliance with
Laws)) in accordance with all Applicable Laws. University will use commercially reasonable
efforts to perform its obligations under this Agreement.

                 3.5    Provision of Information; Access. University shall, during the Initial
Term of this Agreement and any Renewal Term, make available to Provider on a timely basis all
Books and Records within University’s reasonable control, and provide Access to Provider’s
personnel, to the extent reasonably necessary for Provider to perform each of the Services. In
furtherance of the foregoing, and subject to Provider’s compliance with the terms of this
Agreement, University shall provide Provider with immediate and ongoing Access to
University’s enrollment, marketing and other data in Provider-hosted systems as necessary to
facilitate the provision of the Services. The Parties agree that Provider shall have no liability for
any failure to perform, or for the late performance of, any Services to the extent such Services
require Books and Records possessed, prepared or generated by University, or Access to be
given to Provider’s personnel, to the extent that University shall have failed to provide or make
available the same or to cause the same to be provided or made available to Provider in
accordance with Provider’s reasonable written or oral (if promptly confirmed in writing)
requests, and such failure by University is the cause of Provider’s lack of or delay in
performance. Provider shall require that the Services Personnel comply with all business,
administrative, security and other policies of University that otherwise would apply to University
personnel in roles providing such Services and that are provided by University to Provider in
writing. Provider shall use such Access only as reasonably necessary in connection with
providing the Services and shall not use such Access for any purpose or activity unrelated to
providing the Services.
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                3.6     Compliance with Laws. The Parties agree that each Party shall perform
its respective obligations hereunder in compliance with the Applicable Laws that apply to such
Party’s performance under this Agreement. For the avoidance of doubt, Provider shall not be
responsible for University’s compliance with the Applicable Laws that apply to University’s
Educational Activities (including the Educational Laws), even if the performance of the Services
relate to such Applicable Laws, unless (a) Provider failed to provide specific Services expressly
set forth herein or in a Services Addendum in accordance with the terms hereof or such Services
Addendum, (b) such failure was the result of the gross negligence or willful misconduct of
Provider (or Provider’s Services Personnel or Services Personnel of subcontractors used by
Provider), (c) such failure directly causes University’s failure to comply with Applicable Laws,
or (d) such failure results from Provider’s non-compliance with certain Educational Laws
applicable to Provider as set forth in Section 3.7 (Provider’s Compliance with Certain
Educational Laws) below. Neither Provider nor its Affiliates (nor its subcontractors) shall be
required to provide any Services to the extent that providing such Services would require
Provider or its Affiliates or subcontractors to violate any Applicable Law; provided, that
promptly upon learning of such Applicable Law, Provider shall deliver reasonable written notice
thereof to University, and Provider shall reasonably cooperate with University to mitigate the
impact of Provider being unable to provide such Services, including the development and
implementation of a reasonable work-around or reasonable revision to such Services as
necessary to comply with such Applicable Law, which work-around or revisions shall be set
forth in an amendment to this Agreement or in a Services Addendum, as applicable.

               3.7     Provider’s Compliance with Certain Educational Laws. In furtherance
of Provider’s obligations under Section 3.6 (Compliance with Laws):

                         3.7.1 Personal Information and Privacy. Provider acknowledges that
University is subject to internal policies, laws, and regulations that govern and restrict the
collection, storage, processing, dissemination, and use of education records, including non-public
personal information that relates to applicants to University and its Programs, internship
participants and University’s students and personnel that could be used, either directly or
indirectly, to identify such person (collectively, “Personal Information”). In the performance of
Provider’s obligations under this Agreement, Provider shall and shall cause its employees,
agents, servants, principals, and any subcontractors to, at all times, comply with all Applicable
Law, including Educational Laws, and University policies, including privacy and information
security laws and regulations and University policies regarding Personal Information. Without
limiting the generality of the foregoing and subject to University’s oversight, Provider agrees (a)
not to collect, store, process, disseminate, or use any such Personal Information obtained from
University except to the extent expressly permitted or required in the performance of its Services
under this Agreement, (b) to store all such Personal Information only in encrypted or otherwise
secure form on Provider’s computer systems, and (c) except as permitted in this Agreement, not
to sell, distribute, release or disclose lists or compilations of any items of Personal Information
without the prior written consent of University or of the subject(s) of the Personal Information to
be released or disclosed. Any disclosure of Personal Information by Provider in the performance
of its obligations hereunder shall be made only on a “need-to-know” basis and subject to an
applicable confidentiality agreement or other obligation substantially similar to the
confidentiality, privacy and information security requirements imposed on Provider under this
Agreement and Applicable Law. To the extent Provider utilizes subcontractors to perform
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Services under this Agreement, Provider shall require each such subcontractor to agree in writing
to substantively similar terms, obligations, and restrictions contained in this Agreement.

                       3.7.2 Student Privacy Rights. Without limitation of its obligations
under Section 3.7.1 above, (a) Provider shall take all commercially reasonable measures to
protect the Personal Information of University students consistent with the Family Education
Rights and Privacy Act, as amended, and the rules and regulations thereunder (“FERPA”) and
other Applicable Law, (b) Provider shall furnish University a copy of Provider’s information
security procedures for the storage and handling of education records and other Personal
Information prior to the commencement of Provider’s handling and processing of such records
and information, (c) Provider shall furnish University a copy of any update or other modification
of such security procedures, and (d) such security procedures and all updates and modifications
thereof shall be subject to University’s written approval. Provider shall not disclose, release, or
otherwise authorize access to Personal Information without written authority of University
and/or the students to the extent required under FERPA, or as may be required by judicial order
or lawfully issued subpoena. Upon request, Provider shall meet and confer with University to
discuss Provider’s information security procedures for the storage and handling of Personal
Information.

                      3.7.3 Agency Regarding Student Information. In order to satisfy
FERPA and regulatory requirements applicable to University, Provider is hereby appointed as an
agent of University’s Office of Academic Records for the use of student education records and
other Personal Information solely for the purpose of providing the Services hereunder throughout
such students’ tenures at University and attendance in its Programs and thereafter, including,
without limitation, counseling of prospective students and continuing contact with graduates of
University.

                       3.7.4 Timely Notice of Breach. Provider shall promptly notify the
University Registrar of any unauthorized access, use, or disclosure (“Breach”) of any Personal
Information or of University’s Confidential Information of which it becomes aware. Provider
shall take reasonable steps to limit and investigate a Breach occurring as a result of Provider’s
action or inaction, and Provider shall be responsible to the extent of Provider’s fault for the cost
of notifying individuals whose Personal Information have been Breached as a direct result of
Provider’s action or inaction, and any reasonable or court-ordered remedial action.

                       3.7.5 HEA Section 495 Compliance. Provider shall remain in
compliance with HEA Section 495. Without limiting the foregoing, Provider shall have and
maintain security mechanisms in place to ensure that each student registering for a Course is the
same student who participates in the Course or receives Course credit. Such security mechanisms
shall include one or more of the following methods: (a) a login and pass code procedure; (b)
proctored examinations; and (c) new or other technologies and practices that are effective in
verifying student identification.

                     3.7.6 Marketing Laws and Regulations; No Misrepresentation.
Provider agrees to comply with all federal, state or local laws, statutes, rules and regulations
concerning consumer and student marketing, including but not limited to the DOE
misrepresentation regulations (34 C.F.R. §668.71-75), the CAN-SPAM Act of 2003, the

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Telephone Consumer Protection Act, the Telemarketing and Consumer Fraud and Abuse
Prevention Act, the Telecommunications Act, Section 5 of the Federal Trade Commission Act
and any amendments thereto, and any regulations promulgated thereunder. Any communications
with prospective or exiting students shall follow scripts or use advertising or web materials
approved by University. Provider shall make no misrepresentation concerning University,
including about any of its Programs, financial charges or the employability of its graduates.

                       3.7.7 Incentive Compensation Rule. Provider shall compensate its
employees and agents engaged in the recruitment of University’s students and in the awarding of
financial aid, and those responsible for such employees and agents, only in accordance with the
provisions of HEA Section 487(a)(20) (20 U.S.C. § 1094(a)(20)), or any successor provision,
and the regulations promulgated thereunder by the DOE (currently located at 34 C.F.R. §
668.14(b)(22)), commonly referred to as the Incentive Compensation Rule. Provider represents
and warrants that this Agreement falls under Example 2-B, page 12 of the Dear Colleague letter
titled “Implementation of Program Integrity Regulations” from the U.S. Department of
Education issued on March 17, 2011 (including any amended or successor DOE guidance, the
“Guidance”). Provider further covenants and agrees that it will fully comply with the Guidance
during the Initial Term and any Renewal Terms.

             3.8    Compliance with University Policies and Standards; Fulfillment of
University Mission.

                       3.8.1 Provider acknowledges that University has established, and
maintains and enforces, policies with regard to fair and ethical behavior in its day-to-day
operations, copies of which have been provided to Provider. Provider agrees that it shall perform
the Services and otherwise abide by its obligations under this Agreement in full compliance with
any such generally applicable ethics policies, as the same may be updated from time to time.
University agrees to notify Provider promptly in writing if University updates or amends such
policies and to provide Provider with reasonable advance notice of the implementation of such
updates or amendments to enable Provider to achieve compliance therewith.

                       3.8.2 In addition to the matters described in Section 3.8.1, Provider
acknowledges that certain Services, as listed and described in Exhibit B, are to be provided
subject to University’s oversight and approval, or pursuant to written plans and procedures
approved by University (such as quality control standards governing the provision of student
support services counseling under Section 3 of Exhibit B). Provider agrees that, in its provision
of the Services, it shall accept such oversight and/or approval requirements and abide by any
such written plans and procedures.

                      3.8.3 Provider is aware of University’s mission and, in the performance
of the Services hereunder, will use its reasonable efforts to assist University in fulfilling that
mission. Provider shall have no authority pursuant to this Agreement with respect to (a) the
election or appointment of University’s board of trustees or corporate officers, (b) the
engagement, dismissal, reprimand, or other management of University faculty or personnel, or
(c) any aspect of University’s internal human resources, business or administrative policies.



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                3.9    Services Personnel. Provider shall determine the appropriate personnel
(the “Services Personnel”) to provide the Services. Provider will have full and complete
authority to engage, dismiss, reprimand, or otherwise manage all Services Personnel; provided,
that, if and to the extent Provider is hiring or providing Services Personnel to provide student
support services counseling under Section 3 of Exhibit B, such Services Personnel shall meet the
same or superior qualifications as such personnel hired directly by University, as determined by
University in its reasonable discretion. University expressly understands and agrees that any
actions by Provider with respect to the Services Personnel shall be in accordance with Provider’s
internal human resources, business or administrative policies in effect from time to time and that
University shall have no authority pursuant to this Agreement with respect to any aspect of such
policies of Provider.

               3.10 Removal of Personnel. If University shall reasonably determine that one
or more of the Services Personnel providing the Services hereunder (including Services
Personnel of any subcontractor used by Provider) are ineffective or otherwise unsuitable to
perform the Services, University may send written notice to Provider identifying such Services
Personnel and the nature of the ineffectiveness or lack of suitability (e.g., offensive behavior,
security concerns, lack of qualifications or the like). Upon University’s reasonable written
request, Provider shall, in its discretion, as promptly as is practical, provide substitute Services
Personnel or take appropriate steps to ensure that the Services Personnel performing the Services
perform said Services effectively. Nothing in this Section or this Agreement shall require
Provider to (a) hire additional employees or consultants to serve as Services Personnel, or (b)
terminate the employment of any Services Personnel.

                3.11 Points of Contact; Designees. Each of Provider and University will
name a point of contact for the Services that are the subject of this Agreement or any Services
Addendum (each, a “Designee”). Each Party may also designate one or more alternate
Designees (each, an “Alternate Designee”) empowered to act in the place of the Designee if the
Designee is unavailable, and while acting in such capacity the Alternate Designee will be
deemed the Designee for purposes of this Agreement. University’s Designee and any Alternate
Designee of University shall be free of any conflict of interest with respect to Provider and this
Agreement as determined under University’s conflict of interest policy. Additionally,
University’s Designee shall report to the MSA Committee established under the University
Bylaws. Designees shall be responsible for supervising and coordinating the performance of the
Services, including using good faith efforts to resolve any disputes or issues that may arise
during the performance of the Services hereunder on a day-to-day basis. Any dispute among the
Parties relating to any Services or this Agreement shall be handled as provided in Section 18.11
(Dispute Resolution). Each Party shall designate an initial Designee by written notice to the
other Party and may designate a successor Designee by written notice to the other Party. In
addition, each Service Addendum may identify Designees for the Services described in such
Service Addendum and such Designees will be the Designees for such Service Addendum.
University shall at all times maintain the University Bylaws and other policies as necessary to
comply with this Section 3.11 (Points of Contact; Designees).

         3.12 Disclaimer of Warranties. EXCEPT FOR THE EXPRESS
WARRANTIES SET FORTH IN SECTION 2 (REPRESENTATIONS OF THE PARTIES)
AND SECTION 3.4 (SERVICES AND PERFORMANCE STANDARD), OR AS
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SPECIFICALLY SET FORTH IN EXHIBIT B, PROVIDER MAKES NO
REPRESENTATIONS OR WARRANTIES IN RESPECT OF THE SERVICES OR ANY
ITEMS TO BE DELIVERED OR PROVIDED TO UNIVERSITY OF ANY KIND, NATURE
OR DESCRIPTION, EXPRESS OR IMPLIED, INCLUDING ANY WARRANTY OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE OR NON-
INFRINGEMENT, OR ANY WARRANTY ARISING FROM COURSE OF DEALING,
COURSE OF PERFORMANCE OR USAGE OF TRADE, AND PROVIDER HEREBY
DISCLAIMS THE SAME.

       4.      University Roles and Responsibilities.

                4.1    Sole Control Over University and Academic Matters. Anything herein
to the contrary notwithstanding, the Parties acknowledge and agree that University is solely
responsible for, and will provide and perform at its sole cost and expense, and within its sole
discretion and oversight, during the Initial Term and any Renewal Term, the following roles and
responsibilities as they relate to Programs and Courses offered by University and Educational
Activities conducted by University, as well as such other roles and responsibilities as may be
required to be performed solely by University under Applicable Laws (including Educational
Laws and requirements of Accrediting Bodies and Educational Agencies):

                        4.1.1   Seeking and obtaining any required Educational Approvals or
Educational Consents;

                      4.1.2 Setting the qualifications for, overseeing the verification of the
credentials of, and hiring, appointing, training (and creating related training content),
compensating, and supervising faculty to teach the Courses comprising the Programs and
providing reasonably sufficient faculty and staff as necessary to offer the Programs, conduct the
Educational Activities and perform University’s responsibilities under this Agreement;

                     4.1.3 Reviewing, selecting, structuring and adopting, and ensuring the
quality of, the curricula and related Course Materials for the Courses in the Programs,
establishing the modalities by which to deliver the Courses, and providing institutional and
academic guidance, evaluation and oversight for the Programs;

                     4.1.4 Overseeing the development, maintenance, and operation of the
Programs and ensuring an appropriate number and selection of Programs and Courses;

                      4.1.5 Setting appropriate standards for admission to, and implementing
the admissions policies applicable to, University and any particular Program, including
overseeing the application and enrollment process and making decisions as to the admission to
University and any particular Program of applicants who meet the requisite admission standards,
in compliance with Applicable Law;

                      4.1.6 Overseeing the instruction of Courses and related student and
academic support activities and functions;

                      4.1.7 Setting standards for student performance and the evaluation of
that performance, including through the monitoring of student progression and outcomes;
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                      4.1.8 Setting the requirements for the achievement of credit for Courses
successfully completed, the achievement of applicable degrees following completion of a
Program, determining those students who qualify to receive such credit or such degrees, granting
such degrees, and determining graduation requirements;

                       4.1.9 Entering into all agreements and other necessary documentation
with students regarding their enrollment in the Programs and their receipt of student financial aid
pursuant to applicable Title IV Programs or other financial assistance programs;

                      4.1.10 Receiving all tuition, fees and other amounts (such as room and
board) from, or on behalf of, students;

                     4.1.11 Overseeing all matters related to student discipline and the
establishment and administration of appropriate processes related thereto;

                       4.1.12 Maintaining all academic and administrative records for students
who are enrolled in or seeking enrollment in a Program at University; and

                      4.1.13 Providing students with appropriate academic facilities on the
Campus or at other locations determined by University, as well as housing to students in
accordance with its ordinary course practices.

               4.2     Reporting of Approvals. If reasonably requested by Provider in writing,
University will provide to Provider a regulatory compliance report reflecting the ongoing status
of any Educational Approvals being sought by University and obtained by University in order for
University to offer each of the Courses and Programs.

               4.3     Feedback and Complaints. University has or will develop appropriate
mechanisms by which it will solicit feedback from students receiving the Services as well as
from University faculty and staff who receive or are otherwise involved in overseeing the
Services, and will also have in place a process to review any complaints from faculty or students
about the Services and Provider’s performance thereof, which process shall be similar to, and
consistent with, University’s established complaint policies and procedures. The Parties agree to
utilize the information obtained from such feedback and from such complaint process to
determine whether any changes may be required to the Services or the performance standards
herein, which changes may be made in the manner provided in Section 3.3 (Services Addenda),
Section 18.2 (Amendment; Waiver) or otherwise in the Agreement. In addition, the information
obtained from such feedback and such complaint process shall be considered in connection with
any examination performed pursuant to Section 5.4 (Examination) of the Agreement.

               4.4     Other Responsibilities. University shall have other responsibilities
related to the provision of Services by Provider, as set forth in Exhibit B and in any Services
Addenda.

       5.      Fees and Payments.

              5.1    Services Fees; Payment Terms. The fees payable by University to
Provider in respect of the Services provided under this Agreement (such fees, the “Services
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Fees”) shall be determined and paid in accordance with (a) the terms set forth in Exhibit D, as
Exhibit D may be amended by written agreement of the Parties from time to time, and (b) the
terms in any applicable Services Addendum. Notwithstanding anything to the contrary in this
Agreement, if Provider provides services to University that are not set forth in this Agreement or
on a Services Addendum, such services shall nevertheless be “Services” for purposes of this
Agreement and the Parties shall endeavor, as promptly as possible, to add such new services to a
Services Addendum; provided that, unless otherwise agreed in such Services Addendum,
payment for such new services shall covered by the amounts paid by University to Provider as
set forth on Exhibit D to this Agreement.

                5.2    Delinquent Payments. Services Fees due under this Agreement that are
not paid or not reasonably and in good faith disputed by University in writing within thirty (30)
days of the date of an invoice therefor, with such written notice detailing why such disputed fees
are not due, shall accrue simple interest at the prime rate as quoted in the Wall Street Journal
plus one percent (1.0%) per annum or, if lower, the maximum rate permitted by Applicable Law,
from the date due until paid in full. If University does not reasonably and in good faith dispute
in writing the fees invoiced by Provider within sixty (60) days of the date of the applicable
invoice, with such written notice detailing why such disputed fees are not due, Provider may
suspend performance of all or a subset of the Services, may terminate this Agreement by written
notice (including after any such suspension), and may seek any other remedies available to it,
whether legal, contractual, equitable or otherwise. For the avoidance of doubt, undisputed fees
on an invoice shall be payable as provided in this Agreement, and University may only withhold
the amounts disputed in good faith as set forth in University’s written notice disputing fees
invoiced. In the event that University disputes the Services Fees invoiced as provided above, the
Parties will expeditiously work together in good faith to resolve such dispute. Disputes related to
Services Fees arising in connection with examinations conducted under Section 5.4
(Examinations) shall be administered as provided under that Section.

               5.3    Books and Records; Audited Financial Statements.

                       5.3.1 Books and Records. Each Party shall maintain consistently
applied, accurate and complete Books and Records, including as are necessary: (a) to
substantiate the Services Fees paid by University to Provider, (b) to substantiate the information
in any reports required to be delivered pursuant to this Agreement, including Exhibit B, and (c)
to perform any reconciliation under Section 3 of Exhibit D. Each Party shall maintain such
Books and Records at, or accessible from, such Party’s principal place of business for the period
of time required under Applicable Law, but not less than ten (10) years after creation.

                       5.3.2 Audited Financial Statements. Each Party shall deliver to the
other Party each year, promptly upon completion thereof, its Audited Financial Statements;
provided, that Provider will be deemed to have delivered its Audited Financial Statements to
University if (a) Provider has filed such Audited Financial Reports with the Securities Exchange
Commission via the EDGAR filing system and such reports are publicly available, or (b) the
reports are posted on Provider’s website.

               5.4    Examinations. During the twelve (12) month period following receipt of
any report (including any reconciliation report) delivered under Section 3 of Exhibit B, each

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Party shall have the right to examine and audit (or cause its external auditors to examine and
audit) the Books and Records of the other Party as necessary to verify the examined Party’s
compliance with the terms of this Agreement, including the calculation of any of the information
required to be included in any such reports. In addition, each Party shall have the right to
examine and audit (or cause its external auditors to examine and audit) the compliance by the
other Party with such other Party’s performance obligations under this Agreement. All
examinations shall be performed in accordance with the following terms:

                        5.4.1 The examined Party shall reasonably cooperate with the examining
Party in conducting any such examination. The examining Party and its representatives
(including its external auditors) shall keep all information obtained during any such examination
confidential pursuant to and in accordance with Section 9 (Confidentiality).

                      5.4.2 Examinations shall: (a) be performed, upon not less than five (5)
Business Days’ advance written notice to the examined Party, at the examined Party’s principal
place of business (or other location mutually agreed by the Parties in writing) during normal
business hours, (b) be performed no more frequently than twice during each Fiscal Year (or
portion thereof) by any Party (except for examinations to ensure that a previously discovered
problem is not reoccurring), (c) not be conducted in a manner that unreasonably interferes with
the examined Party’s course of business, and (d) subject to delays outside the control of the
Parties, be concluded within one hundred and eighty (180) days of commencement of the
examination.

                       5.4.3 The examining Party may perform examinations hereunder using
its external auditors, in which case the examined Party shall permit entry of the examining
Party’s external auditors to its principal place of business to perform inspections of the examined
Party’s Books and Records.

                       5.4.4 If any examination made pursuant to this Section 5.4
(Examinations) reveals that (a) any calculation, or any set off or credit, or payments to or from
University or Provider under this Agreement have not been made in accordance with the terms of
this Agreement (a “Payment Failure”), or (b) a Party has failed, in any material respect, to
comply with its performance obligations under the Agreement (a “Performance Failure”), then
the examining Party shall promptly deliver to the examined Party written notice specifying the
nature of any Payment Failure or Performance Failure and providing the data and information
necessary, or requested, to support such claim (an “Examination Notice”). Following its receipt
of any such Examination Notice, the examined Party will have a period of thirty (30) days to
dispute in writing to the examining Party any of the findings contained in the Examination
Notice. If the examined Party fails to dispute the findings in the Examination Notice during such
thirty (30) day period, then the results of the examination set forth in the Examination Notice
shall become final and binding on the Parties. If the examined Party disputes any findings in the
Examination Notice within the applicable thirty (30) day period in accordance with this Section,
then the Parties will work together in good faith for a period of up to thirty (30) days to seek to
resolve the disputed matter, including the exchange of underlying information and records as
reasonably requested. Should no resolution be reached within the first fifteen (15) days of said
period, such efforts to resolve the disputed matter shall include escalating the matter to the
Parties’ respective Designee and/or Senior Designee. If the Parties agree in writing to the
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resolution of any disputed matters during the thirty (30) day negotiation period described above,
then the terms of such written agreement shall be final and binding on the Parties with respect to
such resolved matters.

                        5.4.5 In the case of a Payment Failure, if any of the disputed matters
remain unresolved at the end of the thirty (30) day negotiation period described in Section 5.4.4
above or in the case of any disagreements between the Parties regarding any payment or
reconciliation thereof, then such disputed matters shall be resolved by an Independent
Accounting Firm in accordance with this Section 5.4.5. For purposes of this Agreement,
“Independent Accounting Firm” means either: (a) a nationally recognized independent
chartered accounting firm mutually agreed upon and engaged by Provider and University within
thirty (30) days after the expiration of the applicable time period for the Parties to resolve their
disputes through negotiations, or (b) if Provider and University are unable to mutually agree
upon and engage the Independent Accounting Firm during such thirty (30) day period, then, no
later than thirty (30) days thereafter, each of Provider and University shall select and engage a
nationally recognized independent accounting firm and those two accounting firms will
promptly, but in no event more than twenty (20) days later, select and engage a third nationally
recognized independent accounting firm, which third accounting firm shall serve as the
Independent Accounting Firm. Notwithstanding the foregoing, in the case of the application of
clause (b) of this definition, if either Provider or University fails to timely engage an accounting
firm, then the Independent Accounting Firm will be the accounting firm timely engaged by the
other Party. Within thirty (30) days after the Independent Accounting Firm has been engaged,
Provider and University shall each submit a written statement to the other Party and the
Independent Accounting Firm identifying in reasonable detail such Party’s calculation of each
disputed amount. If either Party fails to timely submit its written statement to the other Party and
the Independent Accounting Firm, or if either Party fails to timely provide Books and Records
requested by the other Party, then the Independent Accounting Firm shall resolve such disputed
matters in accordance with the written statement of the Party that was timely submitted.
Otherwise, the Independent Accounting Firm shall resolve each disputed amount by selecting
either the calculation submitted by Provider or the calculation submitted by University, based on
which calculation the Independent Accounting Firm determines to be more accurate. The
Independent Accounting Firm shall submit its final written report to the Parties within sixty (60)
days (or such other time period as the Parties mutually agree in writing) after the deadline for the
Parties to submit their written statements to the Independent Accounting Firm. For the
avoidance of doubt, the Independent Accounting Firm shall only decide the specific items under
dispute by the Parties and its decision for each disputed amount must be either the calculation
submitted by Provider or by University and not a different calculation it performs. In connection
with the resolution of the disputes, each of the Parties shall make available to the other Parties
and the Independent Accounting Firm, as the case may be, such Books and Records, documents,
work papers, facilities and other information as such Party or the Independent Accounting Firm
may reasonably request to resolve the dispute. The Independent Accounting Firm determination
made in accordance with this Section will be final and binding upon the Parties and will not be
subject to appeal, absent fraud or manifest error.

                      5.4.6 In the case of a Performance Failure, if any of the disputed matters
remain unresolved at the end of the thirty (30) day negotiation period described in Section 5.4.4

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above or in the case of any disagreements between the Parties regarding any cure thereof, then
such disputed matters shall be resolved pursuant to Section 18.11 (Dispute Resolution).

                       5.4.7 Each Party shall be responsible for its own costs and fees relating
to any dispute resolution pursuant to Section 5.4.5 or Section 5.4.6 above.

                     5.4.8 Provider agrees that University may provide the results of any
examination undertaken pursuant to this Section 5.4 (Examinations) to any Educational Agency,
including HLC, upon such Educational Agency’s request.

       6.      Term, Termination.

               6.1     Term. The initial term of this Agreement (the “Initial Term”) shall
commence on the Effective Date and, unless earlier terminated as provided in this Agreement,
shall continue until the earlier of (a) the fifteenth (15th) anniversary of the Effective Date, or (b)
with respect to any particular Service being provided hereunder, such other termination date as is
mutually agreed by the Parties in writing or set forth in a Services Addendum related to any
additional Service added hereto. Unless earlier terminated as provided in this Agreement, this
Agreement shall automatically renew for successive five (5) year terms (each, a “Renewal
Term”).

                6.2     Non-Renewal of Initial Term or Any Renewal Term; Fee Payable.
Either Party may elect not to renew this Agreement at the end of the Initial Term or any
subsequent Renewal Term by giving the other Party written notice of such election not to renew
not less than eighteen (18) months’ prior to the end of such Initial Term or subsequent Renewal
Term. If University gives written notice to Provider of its decision not to renew this Agreement,
then, as a condition to the expiration of such Initial Term or Renewal Term, University shall pay,
and Provider shall have the right to receive, on the last day of such Initial Term or Renewal
Term, as applicable, the Non-Renewal Fee by wire transfer of immediately available funds.

                6.3     Early Termination of Initial Term; Fee Payable. Prior to the expiration
of the Initial Term, University may elect to terminate this Agreement upon or following the later
of (a) the seventh (7th) anniversary of the Effective Date, and (b) the payment in full of the
Senior Secured Note. Such termination shall be effected by providing Provider with written
notice of termination not less than eighteen (18) months’ prior to the proposed date of
termination, specifying therein the effective date of termination. If University gives written
notice to Provider of its decision to terminate this Agreement in accordance with this Section 6.3
(Early Termination of Initial Term; Fee Payable), then, as a condition to such termination,
University shall pay, and Provider shall have the right to receive, on the effective date of
termination the Early Termination Fee by wire transfer of immediately available funds.

               6.4    Termination of Agreement for Breach. Subject to the provisions of
Section 3.11 (Points of Contact; Designees), Section 5.4 (Examinations) and Section 18.11
(Dispute Resolution), this Agreement may be terminated by either Party (such Party defined
herein for convenience as the “Non-Defaulting Party”) upon a Performance Failure by the other
Party (such other Party defined herein for convenience as the “Defaulting Party”) where such
Performance Failure has a material adverse effect on the Non-Defaulting Party or its business.

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The Non-Defaulting Party shall give the Defaulting Party written notice of such Performance
Failure, stating the nature thereof and a reasonable period (which shall be not less than thirty (30)
days) to cure such Performance Failure. If the Defaulting Party does not cure any such
Performance Failure within the specified cure period, the Non-Defaulting Party may terminate
this Agreement effective upon thirty (30) days’ prior written notice given on or after the end of
the specified cure period; provided, that if, at end of the specified cure period, the Defaulting
Party is continuing to use reasonably diligent efforts to cure such Performance Failure in light of
the nature of such Performance Failure, then the Non-Defaulting Party may not give written
notice of termination of this Agreement until the earlier of (a) an additional thirty (30) days has
passed following the end of the original specified cure period, or (b) such time as the Defaulting
Party has ceased using reasonably diligent efforts to cure such Performance Failure. For the
avoidance of doubt, any termination of this Agreement in respect of a Payment Failure shall be
governed by Section 5.2 (Delinquent Payments) or Section 5.4 (Examinations), as applicable.

                6.5     Termination of Particular Service. Subject to the provisions of Section
3.11 (Points of Contact; Designees) , Section 5.4 (Examinations) and Section 18.11 (Dispute
Resolution), the provision by Provider of any particular Service may be terminated by the Non-
Defaulting Party upon a Performance Failure by the Defaulting Party with respect to such
particular Service. The Non-Defaulting Party shall give the Defaulting Party written notice of
such material Performance Failure, stating the nature thereof and a reasonable time (which shall
be not less than thirty (30) days) to cure such Performance Failure. If the Defaulting Party does
not cure any such Performance Failure within the specified cure period, the Non-Defaulting
Party may terminate the provision of the applicable Service effective upon thirty (30) days’ prior
written notice given on or after the end of the specified cure period; provided, that if, at end of
the specified cure period, the Defaulting Party is continuing to use reasonably diligent efforts to
cure such Performance Failure in light of the nature of such Performance Failure, then the Non-
Defaulting Party may not give written notice of termination of the particular Service until the
earlier of (a) an additional thirty (30) days has passed following the end of the original specified
cure period, or (b) such time as the Defaulting Party has ceased using reasonably diligent efforts
to cure such Performance Failure. Upon the termination of any particular Service being provided
hereunder, the Parties will work together mutually and in good faith to agree upon an appropriate
adjustment to the Service Fees payable hereunder to reflect the elimination of such Service and
this Agreement shall be amended accordingly. For the avoidance of doubt, any termination of a
particular Service in respect of a Payment Failure shall be governed by Section 5.2 (Delinquent
Payments) or Section 5.4 (Examinations), as applicable.

               6.6     Special Termination Right. Anything in Section 6.5 (Termination of
Particular Service) to the contrary notwithstanding, University may immediately and without
penalty terminate the portions of this Agreement related to the provision of Services covered in
Section 8 (Financial Aid Services) of Exhibit B to this Agreement if it receives notification that
the DOE has imposed an emergency, limitation, suspension, or termination action with regard to
Provider’s ability to contract with the University to administer any aspects of its participation in
the Title IV Programs. Any such termination of the Services covered in Section 8 (Financial Aid
Services) of Exhibit B shall not affect Provider’s provision of Services not covered in Section 8
(Financial Aid Services) of Exhibit B. Upon any termination of the Services covered in Section 8
(Financial Aid Services) of Exhibit B to this Agreement, the Parties will work together mutually

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and in good faith to agree upon an appropriate adjustment to the Services Fees payable hereunder
to reflect the elimination of such Services and this Agreement shall be amended accordingly

                6.7    Effect of Termination. Upon termination of this Agreement or any
particular Service, as applicable, (a) Provider shall be entitled to all Services Fees and other
amounts due for the provision of the relevant Services rendered up to and through the effective
date of termination, as determined and payable in accordance with the terms in this Agreement
and any Services Addendum, (b) the Parties shall take reasonable steps to provide the other Party
with any information and records reasonably relating to this Agreement or such Service
requested by such other Party in writing to the extent appropriate and necessary to permit the
continuing business operations of each of the Parties with a minimum of disruption, and (c) all
licenses granted under Section 10 (Intellectual Property Rights) below will terminate; provided,
if University requests the performance of Transition Services, such licenses will terminate at the
end of the applicable Transition Period.

                6.8    Transition Services. Except in the case of a non-renewal of the
Agreement under Section 6.2 (Non-Renewal of Initial Term or Any Renewal Term; Fee Payable)
or an early termination of the Agreement by University under Section 6.3 (Early Termination of
Initial Term; Fee Payable), if this Agreement or any particular Service is terminated (regardless
of the reason for such termination), (a) by Provider, then, at University’s written election,
Provider will continue providing the Services (or the applicable Service) for a period of up to
two (2) years following the termination date, or (b) by University, then, at University’s written
election, Provider will continue providing the Services (or applicable Service) for a period of up
to six (6) months following the termination date (the post-termination services are referred to
herein as the “Transition Services,” and the applicable period during which the Transition
Services are provided is referred to herein as the “Transition Period”). Notwithstanding the
foregoing, if this Agreement or a Service is terminated as a result of University’s failure to
timely pay the applicable Services Fees, then if University desires to receive Transition Services
during the Transition Period, University must, prior to the commencement of any Transition
Services, (a) pay all outstanding Services Fees that are not subject to a good faith dispute by
University pursuant to Section 5.2 (Delinquent Payments) and (b) pay the estimated Services
Fees as reasonably determined by Provider for the Transition Period on a monthly basis in
advance. If the actual Services Fees payable for the Transition Period are different than the
estimated Services Fees paid by University, then (i) if the actual Services Fees exceed the
estimated Services Fees, University will pay the difference within thirty (30) days after the
expiration of the Transition Period, and (ii) if the actual Services Fees are less than the estimated
Services Fees, Provider will refund to University the difference within thirty (30) days after the
expiration of the Transition Period. The Transition Services will be provided at least at the same
levels of quality and timeliness of performance as such Services were required to be provided
prior to the termination. In connection with a termination of the Agreement, University may,
upon written notice to Provider, modify the specific Transition Services to be provided to a
subset of the Services provided under this Agreement and, in any case, may reduce the term for
the Transition Period to a lesser period. Following any termination, the Parties agree to work in
good faith to effectuate an orderly transition of the Services (or any particular Service), with a
goal of minimum interruption to University, its students and its Educational Activities. It is
agreed and understood that the licenses granted to Provider in Section 10 (Intellectual Property
Rights) shall remain in effect during the Transition Period, provided that University complies
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with the terms in this Agreement, including timely paying the Services Fees for the Transition
Services. If this Agreement expires following the giving by a Party of notice of non-renewal
under Section 6.2 (Non-Renewal of Initial Term or Any Renewal Term; Fee Payable) above, or
is terminated by University following the giving by University of notice of termination under
Section 6.3 (Early Termination of Initial Term; Fee Payable), then during the period between the
giving of such notice of non-renewal or termination and the expiration or termination of the
Initial Term or expiration of any Renewal Term, the Parties shall likewise work in good faith to
wind down their relationship and effectuate an orderly transition of the Services, with a goal of
minimum interruption to University, its students and its Educational Activities.

                6.9    Assumption of Certain Services Functions. University may, at any time
upon providing Provider with not less than nine (9) months’ prior written notice (a “Services
Transfer Notice”), elect to directly assume performance of one or more Back-Office Services
Functions, as designated by University in such Services Transfer Notice; provided that
(a) Provider will be paid any Services Fees related to the Back-Office Services Function assumed
for the period prior to the effective date of such assumption, and continue to be paid its other
Services Fees, in each case, as provided in Exhibit D without regard to such assumption, and
(b) the Parties will negotiate in good faith to determine appropriate adjustments to the Services
Fees payable hereunder to give effect to any transfer of costs associated with such assumption.
Upon University’s assumption of any Back-Office Services Functions, University will supply its
own technology and IT platforms to perform such Back-Office Services Functions and will no
longer have the right to access or use the Platform in connection therewith. The Parties agree that
to the extent performance of the Back-Office Services Function assumed by University requires
amendment to this Agreement, the Parties shall make such amendments (in accordance with
Section 18.2 (Amendment; Waiver)) in good faith consistent with the remaining terms of this
Agreement. University shall not retain any other Person, during the remainder of the Initial
Term or any Renewal Term in which a notice is given pursuant to this Section 6.9 (Assumption
of Certain Services Functions), to perform any Back-Office Services Functions assumed
pursuant to this Section.

       7.      Tax Matters.

                7.1    Tax. The Services Fees are exclusive of all Tax. University will pay and
be liable for any and all Tax imposed on, sustained, incurred, levied and measured by the cost,
value or price of Services provided by Provider under this Agreement; provided, that in no event
shall University be liable for any Taxes that are imposed on or calculated by reference to the net
income received or receivable by Provider. All such Tax for which University is liable will, as
applicable, be invoiced to and payable by University to Provider in accordance with Section 5.1
(Services Fees; Payment Terms) or as otherwise mutually agreed in writing by the Parties and
under the terms of the Applicable Law which governs the relevant Tax. Notwithstanding
anything to the contrary contained in this Agreement, in the event that any applicable Tax
authority imposes a transaction privilege, sales or similarly denominated Tax on the Services, the
responsibility for such Tax shall be borne equally by Parties.

              7.2    Tax Withholding. University shall (a) make all payments of Services
Fees to be made by it to Provider hereunder without any Tax withholding, unless a Tax
withholding is required by Applicable Law and (b) promptly upon becoming aware that
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University must make a Tax withholding (or that there is any change in that rate or the basis of a
Tax withholding) notify Provider in writing accordingly. Provider shall co-operate in
completing any procedural formalities necessary for University to obtain authorization to make
payment without a Tax withholding.

               7.3     Tax Indemnity. Notwithstanding anything herein to the contrary,
University shall pay to Provider an amount equal to the loss, liability or cost that Provider
reasonably determines will be or has been (directly or indirectly) suffered for or on account of
Tax on Provider in respect of the Agreement. This Section 7.3 (Tax Indemnity) shall not apply
with respect to any Tax for which University is not responsible under Section 7.1 (Tax) or any
other Tax assessed on Provider under the law of any jurisdiction in which Provider is
incorporated or operates, if that Tax is imposed on or calculated by reference to the net income
received or receivable by Provider.

       8.      Indemnification for Third Party Claims.

                8.1     Indemnification of University. Subject to the limitations set forth in
Section 11 (Limitation of Liability) below, Provider hereby agrees to (a) defend University and
its trustees, officers, employees, agents, successors, and assigns (collectively, the “University
Indemnitees”), from and against all demands, suits, claims, actions, or causes of action (each, a
“Claim”) asserted or brought by any third party against any of the University Indemnitees, and
(b) indemnify and hold the University Indemnitees harmless from any assessments, losses,
damages, costs and expenses (including, interest, penalties, and reasonable attorneys’ fees), of
any nature, and in all cases awarded in a final judgment, order or regulatory action to the third
party bringing the applicable Claim or any settlement amount paid to the third party bringing the
applicable Claim in order to settle such Claim; provided that, in each case, such Claim arises
directly from any act or omission of any Provider Indemnitee, including any violation of any
Applicable Law by Provider, in connection with its performance under this Agreement; provided
further, that Provider shall have no obligation to defend, indemnify or hold University
Indemnitees harmless from any such assessments, losses, damages, costs and expenses to the
extent arising from actions taken by Provider at University’s request or otherwise in respect of
any communications with prospective or existing students made by Provider following scripts,
or using advertising or web materials, approved by University, as provided in Section 3.7.6
(Marketing Laws and Regulations; No Misrepresentation), so long as Provider was not negligent,
grossly negligent or reckless in taking such actions.

                8.2     Indemnification of Provider. University hereby agrees to (a) defend
Provider and its directors, officers, stockholders, employees, agents, successors, and assigns,
(collectively, the “Provider Indemnitees”), from and against all Claims asserted or brought by
any third party against any of the Provider Indemnitees, and (b) indemnify and hold the Provider
Indemnitees harmless from any assessments, losses, damages, costs and expenses (including,
interest, penalties, and reasonable attorneys’ fees), of any nature, and in all cases awarded in a
final judgment, order or regulatory action to the third party bringing the applicable Claim or any
settlement amount paid to the third party bringing the applicable Claim in order to settle such
Claim; provided that, in each case, such Claim arises directly from any act or omission of any
University Indemnitee including any violation of any Applicable Law by University, including,
without limitation, in respect of the provision to Provider of scripts, or advertising or web
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materials, for use by Provider as contemplated by Section 3.7.6 (Marketing Laws and
Regulations; No Misrepresentation).

               8.3     Conditions. The indemnifying Party’s obligations under this Section 8
(Indemnification for Third Party Claims) shall be conditioned upon and subject to the
indemnified parties (i.e., the Provider Indemnitees or the University Indemnitees, as the case
may be): (a) notifying the indemnifying Party promptly in writing of any Claim of which an
indemnified party becomes aware, provided, that the failure to provide such notice shall not
relieve the indemnifying Party from its obligations hereunder, except to the extent of any
material prejudice to the indemnifying Party as a direct result of such failure; (b) offering the
indemnifying Party sole authority to control fully, at the indemnifying Party’s expense with
counsel of its choice, the defense and settlement of any Claim; provided, that any Claim of a
regulatory nature or involving any Educational Agency shall be under the mutual control of
University and Provider and subject to Section 15 (Duty to Cooperate) of this Agreement, it
being understood that the primary communications with the Educational Agency shall be through
University (although Provider may be present at or participate in such discussions in its
discretion and University will provide reasonable prior written notice to Provider of such
discussions); (c) having the right, at the indemnified parties’ cost and expense, to participate in
the defense of such Claim using legal counsel of its or their own choosing, provided, that such
participation shall not reduce or impact the indemnifying Party’s control of the defense and
settlement as provided herein; and (d) furnishing all reasonable cooperation and assistance
requested by the indemnifying Party in accordance with Section 15 (Duty to Cooperate) below.
Notwithstanding anything to the contrary contained in this Section 8 (Indemnification for Third
Party Claims), if, within fifteen (15) days following receipt by the indemnifying Party of notice
of a Claim pursuant to subpart (a) of the preceding sentence, the indemnifying Party fails to
provide written notice to the indemnified parties of the indemnifying Party’s intention to assume
the defense of such Claim, then each indemnified party shall have the right to assume the sole
control of the defense of such Claim by counsel of its choice, in which event if the Claim is in
fact a Claim for which the indemnifying Party was obligated to defend, indemnify and hold
harmless the indemnified parties, the indemnifying Party shall indemnify any such indemnified
party for all reasonable attorneys’ fees and costs incurred by such indemnified party in
connection with such defense and such reimbursement of attorneys’ fees shall be in addition to
the indemnification for other amounts sought hereunder in connection with such Claim. For the
avoidance of doubt, neither Party may settle a Claim without the prior written consent of the
other Party, such consent not to be unreasonably withheld, delayed or conditioned.

       9.      Confidentiality. Each Party acknowledges that Confidential Information may be
disclosed to the other Party in connection with this Agreement.

               9.1    Definition. “Confidential Information” shall mean, with respect to each
Party (a) any non-public, proprietary information, Intellectual Property and other confidential
information, including, but not limited to, any technical and non-technical information regarding
current, future and proposed business operations, products and services, including for example
and without limitation, information concerning research and development, financial information,
procurement requirements, student and customer information and lists, business forecasts, sales
information and marketing plans, descriptions, specifications and the like of a Disclosing Party,
and (b) any information Disclosing Party has received from a third party which the Disclosing
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Party is obligated to treat as confidential or proprietary, in each case that is provided or
communicated by the Disclosing Party to the Receiving Party in connection with this Agreement
after the Effective Date, including pursuant to Section 15 (Duty to Cooperate).

                9.2     Obligations. Each Party (in such capacity, the “Receiving Party”)
acknowledges and agrees to (a) use with respect to the Confidential Information of the other
Party (in such capacity, the “Disclosing Party”) the same care and discretion to prevent such
Confidential Information from being disclosed, published or disseminated as it employs to avoid
disclosure, publication or dissemination of its own similar Confidential Information (but in no
event less than reasonable care), (b) use the Disclosing Party’s Confidential Information only for
the purpose for which it was disclosed, and (c) not disclose, disseminate or provide access to the
Disclosing Party’s Confidential Information to any Person other than to those employees and
agents who (i) have a need to know it in order to assist the Receiving Party in performing its
obligations under, or to permit the Receiving Party to exercise its rights under, this Agreement,
and (ii) are legally bound by the same obligations regarding Confidential Information as the
Parties are subjected to in this Section 9 (Confidentiality). Furthermore, neither Provider nor
University will: (A) acquire any right in or assert any lien against the Confidential Information of
the other Party, other than as provided in this Agreement; or (B) sell, assign, lease or otherwise
dispose of Confidential Information of the other to third parties (except in connection with a sale
of all or substantially all of such Party’s assets to which this Agreement relates) or commercially
exploit such Confidential Information, other than as permitted in this Agreement. In addition,
the Parties shall take reasonable steps by agreement or otherwise so that their Affiliates,
employees, subcontractors and consultants comply with these confidentiality provisions.

                9.3     Permitted Disclosures. Notwithstanding the foregoing, the Receiving
Party may disclose the Confidential Information of the Disclosing Party (a) to a third party
subcontractor who is involved in providing Services under this Agreement or a third party who is
contemplating entering into a transaction with Provider pertaining to a financing event or a sale
of all or any portion of its business, provided that: (i) such disclosure is reasonably necessary for
the third party to perform its duties or evaluate the potential transaction; (ii) the Receiving Party
causes the third party to be bound to the same obligations regarding Confidential Information as
the Parties are subjected to in this Section 9 (Confidentiality); and (iii) the Receiving Party
assumes full responsibility for the acts or omissions of such third parties, no less than if the acts
or omissions were those of the Receiving Party; (b) to the extent required under the terms of any
credit agreement, indenture or related agreement entered into by the Receiving Party or one of its
Affiliates; (c) to an Affiliate, provided that: (i) such Affiliate is bound to the same obligations
regarding Confidential Information as the Parties are subjected to in this Section 9
(Confidentiality); and (ii) Receiving Party shall only disclose such Confidential Information to
those directors, trustees, officers, employees and agents of such Affiliate who have a need to
know it in order to assist the Receiving Party in performing its obligations hereunder, or to
permit the Receiving Party to exercise its rights under this Agreement; (d) as required pursuant
to any Applicable Law; provided, that the Receiving Party shall advise the Disclosing Party of
such required disclosure promptly upon learning thereof in order to afford the Disclosing Party a
reasonable opportunity to contest, limit and/or assist the Receiving Party in crafting such
disclosure; or (e) to an Educational Agency when requested by such Educational Agency.


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               9.4     Exclusions. Notwithstanding anything to the contrary in the foregoing,
Confidential Information does not include, and this Section 9 (Confidentiality) will not apply to,
any information that the Receiving Party can demonstrate was:

                       9.4.1 at the time of disclosure of such information to the Receiving
Party, in the public domain;

                      9.4.2 information related to applicants to University that do not enroll in
University within three months of initial outreach to such applicant;

                         9.4.3 after disclosure of such information to the Receiving Party,
published or otherwise became part of the public domain through no fault of the Receiving Party
or its directors, trustees, officers, employees and agents;

                       9.4.4 rightfully in the possession of the Receiving Party at the time of
disclosure of such information to the Receiving Party, free of any obligation of confidentiality;

                      9.4.5 received after disclosure of such information to the Receiving
Party from a third party who had a lawful right to disclose such information to the Receiving
Party; or

                      9.4.6 independently developed by the Receiving Party without reference
to Confidential Information of the Disclosing Party.

                9.5    Loss of Confidential Information. In the event of any disclosure or loss
of, or inability to account for, or unauthorized use of, Confidential Information, the Receiving
Party will notify the Disclosing Party immediately in writing, and shall reasonably assist the
Disclosing Party in remedying the unauthorized disclosure or use.

               9.6    Period of Confidentiality. Confidential Information disclosed pursuant
to this Agreement will be subject to the terms of this Agreement until such time as it ceases to be
characterized as Confidential Information under one or more of clauses 9.4.1 through 9.4.6 of
Section 9.4 (Exclusions)

                9.7     Return of Confidential Information. Within thirty (30) Business Days
after the effective date of termination of this Agreement or any Transition Period (if applicable),
the Receiving Party shall destroy or deliver to the Disclosing Party, at the Disclosing Party’s
option, (a) all materials furnished by the Disclosing Party, and (b) all materials in the Receiving
Party’s possession or control (even if not furnished by the Disclosing Party), in each case that
contain or disclose any of the Disclosing Party’s Confidential Information. The Receiving Party
will provide the Disclosing Party a written certification of the Receiving Party’s compliance with
the Receiving Party’s obligations under this Section 9.7 (Return of Confidential Information).
Notwithstanding the foregoing, Confidential Information stored on back-up storage media in the
normal course of business need not be returned or destroyed, but shall remain subject to the
terms of this Agreement in accordance with Section 9.6 (Period of Confidentiality).

       10.     Intellectual Property Rights.

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               10.1    Definitions.

                       10.1.1 As used herein, the term “Intellectual Property” shall mean any
and all technology, inventions, processes, know-how, designs, works of authorship, and any
other technical subject matter related thereto. The term “Intellectual Property” also includes all
intellectual property rights or similar proprietary rights related to or protecting the foregoing,
including (a) all inventions, all improvements thereto and all patents, patent applications,
provisionals and patent disclosures, together with all reissuances, continuations, continuations-
in-part, revisions, extensions, and reexaminations thereof, (b) all registered and unregistered
trademarks, service marks, trade dress, logos, trade names, registered domain names, and
corporate names, including all goodwill associated therewith, and all applications (including
intent-to-use applications), registrations, and renewals in connection therewith, (c) all
copyrightable works, all copyrights and all applications, registrations and renewals in connection
therewith, including all rights in works of authorship, curricula, program materials, translations,
abridgments, revisions compilations and derivative works, (d) all trade secrets, customer lists,
lists of students and prospective students, employer lists, alumni lists, supplier lists, pricing and
cost information, business and marketing plans and other confidential business information
(including, without limitation, ideas, formulas, compositions, know-how, techniques, research
and development information, drawings, specifications, designs, plans, proposals, and technical
data), (e) all computer programs and related software, including source code and object code
thereof, data, data tapes, databases and related manuals, notes, and documentation, and (f) all
copies and tangible embodiments thereof.

                      10.1.2 As used herein, the term “University Intellectual Property” shall
mean any and all Intellectual Property in (a) all of the content of the Courses and Programs,
including the Course Materials and all Improvements thereto, (b) all Plans and related Plan
Information (each as defined in Section 1.1 of Exhibit B) developed by University, and (c) any
Intellectual Property expressly identified in a Service Addendum as “University Intellectual
Property.”

                        10.1.3 As used herein, the term “Provider Intellectual Property” shall
mean any and all Intellectual Property in (a) the Platform, including Provider-developed or
Provider-acquired user interface designs necessary to facilitate access to University Intellectual
Property via the Platform (provided that, for further clarity, Provider’s rights in such matter shall
not give it any right whatsoever in or to any portion of University Intellectual Property, none of
which may be used by Provider except in accordance with the express terms of this Agreement),
logic and data modules, algorithms, feature sets and source code, and documentation relating
thereto (b) all Aggregated Data Sets (as further discussed in Section 10.13 (Aggregated Data
Sets) below), and documentation relating thereto, (c) all Plan Information developed by Provider,
and (d) any Intellectual Property expressly identified in a Service Addendum as “Provider
Intellectual Property.”

               10.2    Ownership.

                      10.2.1 Ownership by Each Party. Following Provider’s assignment,
sale and transfer to University of certain Intellectual Property as set forth in the Asset Purchase
Agreement or any related agreement executed by the Parties in connection therewith, each Party

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(and their respective Affiliates) (as the “Owner Party”) owns and shall retain all right, title and
interest in and to any and all (a) Confidential Information of such Owner Party, (b) all
Intellectual Property of such Owner Party or its Affiliates existing as of the Effective Date,
(c) except as may be expressly provided otherwise in this Agreement or a Services Addendum,
all Intellectual Property independently developed by such Owner Party or its Affiliates after the
Effective Date, and (d) in the case of University, all Improvements to University Intellectual
Property, together with all associated Intellectual Property rights in such Improvements, that are
conceived, created, or developed by Provider in connection with providing the Services
hereunder. For the avoidance of doubt, Intellectual Property developed by Provider, whether in
connection with the provision of the Services or outside the provision of the Services, including,
without limitation, Aggregated Data Sets, shall be Intellectual Property independently developed
by Provider for purposes of the foregoing and Provider will be the “Owner Party” of such
Intellectual Property, except for Intellectual Property that is developed by Provider and assigned
to University as specifically provided in this Section 10 (Intellectual Property Rights).

                       10.2.2 Works Made for Hire. Provider acknowledges and agrees that all
works of authorship included in the University Intellectual Property shall constitute a “work
made for hire” for University, as that phrase is defined in Section 101 and 201 of the Copyright
Act of 1976 (Title 17, United States Code), including a work specially commissioned by
University. With respect to any such works of authorship that are not “works made for hire” and
with respect to any other University Intellectual Property, Provider hereby assigns and transfers
and agrees to assign and transfer to University all of Provider’s right, title and interest in and to
such works of authorship and University Intellectual Property, including, all patent, copyright,
trade secret and other proprietary rights, and the right to make any modifications, adjustments or
additions thereto (Provider hereby expressly waiving any droit moral or similar rights to object to
any such changes), the right to make and distribute derivative works thereof and the right to all
claims for past infringement thereof.

                         10.2.3 Further Assurances. Upon a Party’s reasonable written request,
the other Party shall execute and deliver to the requesting Party all documents and instruments,
including copyright assignments, and shall otherwise assist the requesting Party, at the requesting
Party’s expense, to perfect in the requesting Party the sole and exclusive right, title and other
interests in the Intellectual Property of such requesting Party (as provided herein). In the event a
requesting Party is unable, because the other Party is no longer in business, to obtain the
signature of the other Party to any document or instrument necessary or desirable to apply for
protection of, or to enforce any action with respect to, any Intellectual Property right of the
requesting Party, the other Party hereby irrevocably designates and appoints the requesting Party
and its duly authorized officers and agents as the other Party’s agent and attorney-in-fact, whose
power is expressly coupled with an interest, to act for and on behalf of the other Party, to execute
such documents and instruments and to take all lawfully permitted actions to protect the
requesting Party’s interests in any such Intellectual Property with the same legal force and effect
as if executed by such other Party.

                10.3 License to Course Materials. Subject to the terms and conditions of this
Agreement, and subject to the applicable Quality Control Standards set forth in Section 10.9
(Quality Control), University, on behalf of itself and its Affiliates, hereby grants to Provider,
during the Initial Term and any Renewal Term and under the Intellectual Property rights owned
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or controlled by University or its Affiliates, a non-exclusive, non-transferable, worldwide,
royalty-free right and license, without the right to sublicense, (a) to create derivative works of,
and to modify, enhance and develop improvements to, the Course Materials (collectively,
“Improvements”), and (b) to use the Course Materials, including the right to reproduce,
distribute copies, publicly display and publicly perform the Course Materials, in each case solely
in connection with the performance by Provider of Services under this Agreement. The foregoing
license only in clause (a) of Section 10.3 (License to Course Materials) is subject to University’s
prior written consent (not to be unreasonably withheld, conditioned or delayed) for each of the
Improvements and such consent may be reasonably conditioned on additional terms and
conditions to be proposed by University consistent with University’s academic control over the
Course Materials. During the Initial Term of this Agreement and any Renewal Term, Provider
shall disclose all Improvements to University. Provider will have written agreements with its
employees and contractors that develop Improvements pursuant to which such employees and
contractors assign to Provider all right, title and interest in and to the Improvements and all
Intellectual Property rights therein.

               10.4 License to Other University Intellectual Property. Subject to the terms
and conditions of this Agreement, University, on behalf of itself and its Affiliates, hereby grants
to Provider, during the Initial Term and any Renewal Term and under the Intellectual Property
rights owned or controlled by University or its Affiliates, a non-exclusive (except as provided in
the next sentence), non-transferable, worldwide, royalty-free right and license, without the right
to sublicense, to use, reproduce, create derivative works and to modify, enhance and develop
improvements to the University Intellectual Property (other than the Course Materials and
University Marks) and distribute copies, publicly display and publicly perform such other
University Intellectual Property, in each case solely in connection the performance by Provider
of Services under this Agreement. Notwithstanding the foregoing, the license set forth in this
Section 10.4 (License to Other University Intellectual Property) shall be exclusive with respect to
the Exclusive Services.

                 10.5 License to University Marks. Subject to the terms and conditions of this
Agreement and to the Quality Control Standards set forth in Section 10.9 (Quality Control),
University, on behalf of itself and its Affiliates, hereby grants to Provider, during the Initial Term
and any Renewal Term, a worldwide, non-exclusive (except as provided in the next sentence),
non-transferable, royalty-free right and license, without the right to sublicense, to use, reproduce
and display the University Marks solely in connection with the performance by Provider of the
Services (e.g., marketing and promotion services). Notwithstanding the foregoing, the license
set forth in this Section 10.5 (License to University Marks) shall be exclusive with respect to the
Services identified herein; provided, that University may use, reproduce and display the
University Marks in connection with the marketing and promotion of University and the
Programs as well as any other uses unrelated to the Services identified herein. Subject to the
terms of this Agreement (e.g., with respect to Provider’s permitted use of University Marks),
Provider and University shall coordinate their marketing and promotional activities in respect of
University to ensure a consistent message. A list of University Marks as of the Effective Date is
set forth on Exhibit E to this Agreement.




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              10.6 Reservation of Rights. Nothing in this Agreement shall be deemed in
any way to constitute a transfer or assignment by University to Provider of ownership of or title
to any of University Intellectual Property.

               10.7 Domain Names; Additional Trademarks. If Provider is interested in
using domain names containing one of the University Marks, for any purpose, Provider shall
provide a written request to University and University may, in its sole discretion, apply to
register the additional domain names and/or trademarks and amend the list of University Marks
to include such additional domain names and/or trademarks.

              10.8 Restrictions on Trademark Usage. University grants no rights under the
University Marks other than those expressly granted herein unless otherwise agreed to in writing
on a case-by-case basis, at the sole discretion of University. Without limiting the foregoing,
Provider agrees that it shall not directly or indirectly at any time:

                      10.8.1 use any of the University Marks for or in connection with any
business of Provider other than the provision of Services to University under this Agreement;

                     10.8.2 use any of the University Marks in combination with any other
trade name, trademark, service mark, corporate name, logo, domain name or trade dress, unless
approved in advance in writing by University;

                       10.8.3 use any trade name, trademark, service mark, domain name, logo
or trade dress which, in University’s opinion, is likely to be confused with, tarnish or dilute any
of the University Marks;

                    10.8.4 apply to register, obtain, use or own any domain name or
trademark comprising or related to any of the University Marks, or any confusingly similar
marks; or

                       10.8.5 use the University seal (which is solely used for academic
purposes).

               10.9    Quality Control.

                        10.9.1 Notwithstanding anything herein to the contrary, University shall
retain absolute final authority respecting the form and content of any of the Programs, including
Courses and Course Materials, offered under the University name or University Marks. Provider
shall at all times operate Provider’s business in accordance with standards of professionalism and
business practices consistent with those of University, and in accordance with Applicable Law.
Provider shall not perform, or fail to perform, any act if, in University’s reasonable opinion, such
act, or failure to act, materially and adversely affects the business or academic reputation of
University, or in any way materially diminishes or tarnishes the reputation of University, its
employees, its students or any University Marks.

                      10.9.2 Provider shall comply with University’s written quality control
standards provided from time to time by University to Provider in connection with Provider’s use
of the University Marks, as in effect from time to time, which shall be subject to reasonable
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changes or re-branding by University from time to time upon at least thirty (30) days prior
written notice to Provider (the “Quality Control Standards”). All such changes and re-branding
shall be consistent with changes and re-branding implemented and put into practice by
University generally and shall not be unique to Provider. All uses of the University Marks must
be in conformance with the then-current form of Quality Control Standards or otherwise be
approved in writing by University prior to their use. Provider shall not by any act or omission
use the University Marks in any manner that disparages or reflects adversely on the University
Marks or on University, its employees, its students, its business or its reputation.

                       10.9.3 If at any time University is of the reasonable opinion that Provider
is in breach of Section 10.8 (Restrictions on Trademark Usage) or the terms of this Section 10.9
(Quality Control) (other than Section 10.9.4), University shall deliver written notice to Provider
as provided in, and otherwise proceed under, Section 6.4 (Termination for Breach) or Section 6.5
(Termination of Particular Service), as applicable. Notwithstanding the foregoing, the terms of
this Section 10.9.3 shall not limit any right or remedy available to either Party, whether under
this Agreement, Applicable Law or in equity, subject to the limitations on damages set forth in
Section 11 (Limitation of Liability).

                       10.9.4 Provider shall not challenge or assist others in challenging
University’s ownership of the Course Materials and/or University Marks. Similarly, Provider
shall not challenge or assist others in challenging University’s ownership of University
Intellectual Property.

                10.10 License to Provider Intellectual Property. Subject to the terms and
conditions in this Agreement, Provider hereby grants to University the non-exclusive, non-
transferable, right and license, during the Initial Term of this Agreement and any Renewal Term,
and without the right to sublicense, to use all Provider Intellectual Property used in the Programs,
including a license of all rights under copyright and the rights to reproduce and copy Provider
Intellectual Property in all editions, versions, enhancements, improvements, updates, changes,
and formats for print and in any other form or medium, whether now known or hereafter known,
throughout the world, including, electronic, magnetic, digital, laser, or optical-based media, for
use only in University’s Programs. To the extent necessary to facilitate access to the Programs,
Provider shall also grant to University students a royalty-free license to use Provider Intellectual
Property that is included in any Program for the duration of their participation in such Program,
but only as part of the Program studies. Except for the express assignment by Provider to
University of certain Intellectual Property as provided in Section 10.2.2 (Works Made for Hire),
nothing in this Agreement shall be deemed in any way to constitute a transfer or assignment by
Provider to University of ownership of or title to any Intellectual Property.

              10.11 Licenses to Plans and Plan Information. Licenses to Plans and Plan
Information shall be governed by Section 1.2 of Exhibit B.

                10.12 No Additional Rights. Except as expressly provided in this Agreement, a
Services Addendum, or a separate written agreement between the Parties, neither Party shall
receive, by virtue of this Agreement, any rights of ownership to, or any license or other rights in
or to, any Confidential Information or Intellectual Property of the other Party.


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                10.13 Aggregated Data Sets. Notwithstanding anything else in this Agreement
to the contrary, Provider may collect, store and use data and information related to use of the
Services and delivery of Courses in an aggregated and anonymous manner, including to compile
statistical and performance information related to the provision and operation of the Services by
Provider (“Aggregated Data Sets”). University shall undertake such reasonable actions, such as
disclosing such collection and use in its privacy policies, as the Provider may request from time
to time. As between Provider and University, all right, title and interest in the Aggregated Data
Sets and all Intellectual Property therein, belong to and are retained solely by Provider.
University acknowledges that Provider will be compiling Aggregated Data Sets based on
delivery and use of the Services and University agrees that Provider may (a) make such
Aggregated Data Sets publicly available, and (b) use such information and data to the extent and
in the manner permitted by Applicable Law, including without limitation, for purposes of data
gathering, analysis, service enhancement and marketing, provided that such use does not
specifically identify University or its Confidential Information without University consent.

         11.    Limitation of Liability. The Parties hereby agree that Provider’s aggregate
liability under this Agreement, regardless of the nature of the claim or cause of action, whether in
contract, warranty, in tort (including negligence), or strict liability or any other legal theory
regarding any claim by University related in any way to the performance or non-performance of
Provider under this Agreement, is limited to the amount paid by University to Provider for
Services in the most recently completed three-month period, less in all circumstances, any
amounts previously paid (as of the date of satisfaction of such liability) by Provider in
satisfaction of any liability under this Agreement, and University hereby releases and waives any
claim against Provider in excess of such amount, to the extent permitted by Applicable Law.
The limitation set forth in this Section shall not apply to liability or claims arising out of or
related to Provider’s (a) breach of Section 9 (Confidentiality) or Section 10 (Intellectual Property
Rights) (including Provider’s infringement, violation or misappropriation of University
Intellectual Property rights), or (b) claims based on Provider’s gross negligence or willful
misconduct, to the extent permitted by Applicable Law. The limitations in this Section shall
apply notwithstanding any failure of essential purpose of any limited remedy set forth in this
Agreement. No Party will claim, assert or take the position that any limitation on damages set
forth in this Section is or should be found unenforceable or that such limitation should not be
enforced. The foregoing limitations on damages shall apply to the maximum extent permitted by
Applicable Law. If Applicable Law precludes the exclusion of certain types of damages or of
certain types of damages in certain circumstances, then the foregoing limitations on damages
shall not apply to such damages or such damages in such circumstances, provided that the
balance of the limitations shall continue to apply.

         12.    Force Majeure. Neither Party shall be liable or in breach of this Agreement for
any interruption of the provision of Services, or any delay or failure to perform under this
Agreement when such interruption, delay or failure results from causes beyond that Party’s
reasonable control, including as a result of strikes, lock-outs or other labor difficulties; acts of
government, riot, insurrection or other hostilities; embargo, fuel or energy shortages; fire, flood,
acts of God, wrecks or transportation delays; or inability to obtain necessary labor, materials or
utilities from usual sources. In such event, a Party’s obligations hereunder shall be postponed for
such time as its performance is suspended or delayed on account thereof. Upon the cessation of

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the force majeure event, each Party will use commercially reasonable efforts to resume its
performance with the least possible delay.

        13.     Available Remedies. Notwithstanding anything herein to the contrary, the
Parties agree that the failure of a Party to perform any obligation which arises under Section 9
(Confidentiality) or Section 10 (Intellectual Property Rights) of this Agreement will cause
irreparable harm to the other Party which may not be fully or adequately compensated by the
award and/or payment of monetary damages alone. In the event of actual or threatened breach
by a Party of Section 9 (Confidentiality) or Section 10 (Intellectual Property Rights), the Parties
agree that the non-breaching Party shall be entitled to injunctive or other equitable relief in order
to enforce or prevent any such conduct or continuing violation, without having to post a bond or
other security and the breaching Party agrees not to raise the defense of an adequate remedy at
law in any such proceeding. Nothing herein shall be construed as prohibiting either Party from
pursuing any other remedies available for such breach or threatened breach, including the
recovery of damages, costs, and reasonable attorneys’ fees from the other.

        14.     Relationship of the Parties. The relationship of Provider to University under
this Agreement shall be that of an independent contractor. Services Personnel rendering Services
pursuant to this Agreement shall not be deemed employees of University, and shall not be
entitled to or qualified under any employee benefit plans, including pension, health and
insurance plans, provided by University for its employees. Each Party shall be solely responsible
for the fulfillment of all labor and Social Security provisions that affect the labor relationships
with its personnel, either currently in force or that may be passed during the Initial Term of this
Agreement and any Renewal Term, expressly discharging the other Party from any liability for
the breach thereof. Neither Party, nor its respective employees, agents or representatives, is
authorized to, nor shall at any time attempt to, act on behalf of the other Party to bind the other
Party in any manner whatsoever to any obligations.

        15.     Duty to Cooperate. If a Governmental Entity, Educational Agency, or third
party files any type of Claim, or commences an investigation, adverse action, review or audit
against Provider or one of its Affiliates or University or one of its Affiliates, in each case related,
in whole or in part, to this Agreement and the Services provided hereunder, each Party (and its
respective Affiliates, to the extent applicable) shall provide prompt notice to the other Party of
such Claim, investigation, adverse action, review or audit and shall use commercially reasonable
efforts to cooperate with the other’s defense. Each Party (and its Affiliates, to the extent
applicable) further agrees in principle to assert the common interest privilege and to execute such
joint defense agreements, on customary terms, as may be necessary or appropriate for the
protection of any privilege or confidentiality in the course of cooperating with the other’s
defense. Provider and University (and their respective Affiliates, to the extent applicable) agree
to use commercially reasonable efforts to make available to the other upon reasonable request in
writing any and all non-privileged or non-proprietary documents that either Party (or either of
their respective Affiliates, to the extent applicable) has in its or their possession, which relate to
any such claim, lawsuit, charge, investigation or audit. However, neither Party (nor any of their
respective Affiliates) shall have the duty to cooperate with the other Party if the dispute is
between the Parties themselves, nor shall this provision preclude the raising of cross-claims or
third party claims between Provider and University (or one of their respective Affiliates) if the

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circumstances justify such proceedings. The Parties agree that this provision shall survive the
termination of this Agreement.

        16.    Survival of Obligations. Each Party’s obligations under this Section and Section
6.7 (Effect of Termination), the second sentence of Section 3.2 (Location of Services;
Subcontracting), Section 3.6 (Compliance with Laws), Section 3.7 (Provider’s Compliance with
Certain Educational Laws), Section 3.12 (Disclaimer of Warranties), Section 4 (University Roles
and Responsibilities), Section 5 (Fees and Payments), Section 7 (Tax Matters), Section 8
(Indemnification for Third Party Claims), Section 9 (Confidentiality), the terms in Section 10
(Intellectual Property Rights) with respect to ownership of Intellectual Property and the
irrevocable licenses, Section 11 (Limitation of Liability), Section 13 (Available Remedies),
Section 14 (Relationship of the Parties), Section 15 (Duty to Cooperate), Section 18
(Miscellaneous), and University’s obligations under Exhibit D of this Agreement, shall survive
the termination of this Agreement to the extent permitted by Applicable Law.

         17.    Insurance. Each Party shall be solely responsible for obtaining workers
compensation insurance for its employees and agents and such other insurance as may be
required by Applicable Laws. In addition, each Party agrees to carry (or, in University’s case, to
self-insure for) commercial general liability insurance with coverage including products and
completed operations, personal and advertising injury, and cybersecurity insurance in amounts,
and with scope of coverage, customary for similarly situated entities and as mutually agreed on
by the Parties. Each insurance policy required above shall name the other Party as additional
insured on broad form endorsements with respect to all bodily injury, personal injury, advertising
injury, and property damage liability arising out of the Party’s operations, services or products.
Each such insurance policy shall be endorsed to provide that such coverage shall be primary over
any coverage available to the other Party under its own insurance program in the event of any
suit, claim, damages or loss. Each Party shall provide to the other party a copy or copies of a
certificate or certificates of insurance or, in University’s case, evidence of a self-insurance
program, demonstrating that the insurance coverage set forth above is in full force and effect no
later than sixty (60) Business Days after the date of the Parties’ execution of this Agreement.
Each party shall endeavor to provide the other Party at least thirty (30) days’ advance notice of
any cancellation or material change in any policy of insurance for coverage required under this
Agreement. Further, each Party shall maintain any insurance coverage referenced herein for a
period of five (5) years after termination of this Agreement. To the extent, and only to the extent
necessary to effectuate the Limitation of Liability provisions of Section 11, the University will
use best efforts to obtain a waiver from its insurers of the insurers’ subrogation rights against
Provider.

       18.     Miscellaneous.

               18.1 Notices. All notices, demands and other communications to be sent to a
Party under this Agreement shall be sent to such Party at the address as may be specified by the
Party from time to time in a notice sent as provided in this Section, provided that the initial
notice address for each Party is as follows:




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                       if to Provider:

                       Grand Canyon Education, Inc.
                       2600 West Camelback Road
                       Phoenix, Arizona 85017
                       Attention: Daniel E. Bachus
                       Email:

                       if to University:

                       Grand Canyon University
                       3300 West Camelback Road
                       Phoenix, Arizona 85017
                       Attention: Brian M. Roberts
                       Email:

All such notices, demands or other communications shall be in writing and shall be deemed to
have been received (a) when personally delivered, delivered by facsimile or delivered by other
telecommunication mechanism, including electronic mail (provided there is no error or failure in
transmission), (b) the next day, if sent by recognized overnight courier, or (c) five (5) days after
deposit in the United States mail, postage prepaid, properly addressed and return receipt
requested.

               18.2    Amendment; Waiver.

                        18.2.1 This Agreement, including the Exhibits and any Services
Addendum, may be amended or modified only in a written instrument executed by each Party
hereto. Any provision of this Agreement may be waived only in a written instrument executed by
the Party granting such waiver. The failure at any time of a Party to require performance by any
other Party of any responsibility or obligation required by this Agreement shall in no way affect
a Party’s right to require such performance at any time thereafter, nor shall the waiver by a Party
of a breach of any provision of this Agreement by any other Party constitute a waiver of any
other breach of the same or any other provision nor constitute a waiver of the responsibility or
obligation itself.

                         18.2.2 If continuing this Agreement or any particular Service hereunder
could (a) as reasonably and in good faith determined by University (i) jeopardize University’s
accreditation status with the HLC and/or other Educational Agencies (including, for example,
where, due to a change in accreditation standards or Applicable Law, the performance standards
applicable to Provider’s provision of the Services, as set forth in Section 3.4 (Services and
Performance Standards) and Exhibit B, are required to be modified in order for University to
achieve compliance with such changed standards or Applicable Law), (ii) cause, or could be
reasonably likely to cause, the loss or material impairment of University’s status under Section
501(c)(3) of the Code as a public charity more specifically described in Code Section
170(b)(1)(A)(ii), (iii) cause a loss of the tax-exempt status of any bonds issued by University, or
(iv) cause, or be reasonably likely to cause, the loss or material impairment of University’s
participation in the Title IV Programs or the imposition of material fines or repayment liabilities
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arising from such participation, or (b) as reasonably and in good faith determined by University
or Provider, as a result of the creation, amendment or interpretation of any Educational Laws,
significantly impact any material aspect of this Agreement, then, in each case (and subject to
Section 18.11 (Dispute Resolution)), the Parties will negotiate in good faith an amendment to
this Agreement or such Services Addendum so as to address such issues in a manner that
preserves, to the maximum extent feasible, the economic interests of both Parties and that is
reasonably satisfactory to both Parties.

                       18.2.3 If, following the Effective Date, Provider determines to provide
Services through one or more subsidiaries, then (subject to Section 18.3 (Assignment))
University agrees to execute an amendment to this Agreement and/or any new agreements with
such subsidiaries, in each case which, taken in the aggregate, reflect the terms and provisions of
this Agreement.

                      18.2.4 The Parties acknowledge that, during the term of this Agreement,
the University may desire to refinance certain outstanding obligations with the proceeds of tax-
exempt obligations. In connection with such refinancing, the Provider agrees to cooperate with
the University to make changes to this Agreement that may be required in order for this
Agreement to either meet the safe-harbors for qualified management contracts under IRS
guidelines provided in Revenue Procedure 2017-13 (or any successor guidance) or to meet other
requirements imposed by the IRS such that the provision of services by Provider under this
Agreement does not result in private business use under Section 141(b)(1) of the Code or the
Treasury Regulations issued thereunder (and otherwise does not preclude availability of
refinancing by means of tax-exempt obligations). The Parties agree that such changes shall
include reasonable compensation to compensate for the impact of any such changes.

                18.3 Assignment. This Agreement shall be binding upon and inure to the
benefit of the successors and permitted assigns of each party hereto. Except as provided below,
neither this Agreement nor any right or obligation hereunder may be assigned or delegated in
whole or in part by a Party to any other Person, without the prior written consent of the other
Party (which consent shall not be unreasonably withheld, conditioned or delayed). Provider
may, without the consent of University, (a) collaterally assign its rights under this Agreement to
a lender to Provider, and (b) assign this Agreement and any right or obligation hereunder, or any
portion hereof or thereof to one or more subsidiaries of Provider formed for the purpose of
providing services such as the Services provided hereunder, provided that (i) any such subsidiary
is wholly owned by Provider, (ii) Provider remains primarily liable for all of Provider’s
obligations arising under this Agreement and also executes a guarantee of performance and
payment by any such subsidiary of all such obligations, in form and substance reasonably
satisfactory to University, (iii) any such subsidiary agrees in writing to be bound by this
Agreement, and the assignment and assumption agreement is otherwise in form and substance
reasonably satisfactory to University, and (iv) such assignment to any such subsidiary shall
automatically terminate and be of no further force or effect if at any time such subsidiary is no
longer wholly owned by Provider. For purposes of this Section, “assignment” includes any
change in control of a Party, any subcontracting or other delegation by Provider of the
performance of substantially all of the Services, and any transfer or assignment of this
Agreement (whether by operation of law or otherwise) in connection with any merger, sale of all
or substantially all assets, or any other transaction.
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               18.4 Third Party Rights. Except to the extent provided in Section 8
(Indemnification for Third Party Claims), nothing in this Agreement, whether express or implied,
is intended or shall be construed to confer, directly or indirectly, upon or give to any Person
other than the Parties any legal or equitable right, remedy or claim under or in respect of this
Agreement or any covenant, condition or other provision contained herein.

                18.5 Choice of Law. This Agreement shall be construed and enforced in
accordance with and governed by the laws of the State of Arizona, without giving effect to the
principles of conflict of laws thereof.

              18.6 Headings. The headings of the Sections in this Agreement are provided
for convenience of reference only and shall not be deemed to constitute a part hereof.

                18.7 Entire Agreement. This Agreement, together with the Appendices,
Exhibits and Schedules hereto and the agreements and instruments expressly provided for herein,
as all of the foregoing may be amended from time to time in accordance with the terms hereof,
constitute the entire agreement of the Parties hereto with respect to the subject matter hereof and
supersede all prior agreements and understandings, oral and written, among the Parties hereto
with respect to the subject matter hereof.

                18.8 Severability. Should any provision of this Agreement be deemed in
contradiction with the laws of any jurisdiction in which it is to be performed or unenforceable for
any reason, such provision shall be deemed null and void, but this Agreement shall remain in full
force in all other respects. Should any provision of this Agreement be or become ineffective
because of changes in Applicable Law or interpretations thereof, or should this Agreement fail to
include a provision that is required as a matter of law, the validity of the other provisions of this
Agreement shall not be affected thereby. If such circumstances arise, then (subject to Section
3.11 (Points of Contact; Designees) and Section 18.11 (Dispute Resolution) the Parties hereto
shall negotiate in good faith appropriate modifications to this Agreement to reflect those changes
that are required by Applicable Law.

              18.9 Counterparts. This Agreement may be executed in several counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument.

               18.10 Further Assurances. Each Party shall execute such deeds, assignments,
endorsements, evidences of transfer and other instruments and documents and shall give such
further assurances as shall be necessary to perform such Party’s obligations hereunder.

               18.11 Dispute Resolution.

                        18.11.1   In the event of any dispute, claim or controversy arising out of
or relating to this Agreement, including, but not limited to, its creation, validity, interpretation or
enforcement (a “Dispute”), the Parties shall endeavor to settle the Dispute through their
respective Designees. University’s Designee shall report Disputes to the MSA Committee and
the MSA Committee shall provide guidance in accordance with the University Bylaws. If the
Designees are unable to resolve the Dispute within thirty (30) days of receipt of written notice by
a Designee from the other Designee identifying the dispute and initiating such discussions, the
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Dispute shall then be submitted to (a) in the case of the Provider, a senior executive officer (other
than the chief executive officer) appointed by the Provider’s board of directors, and (b) in the
case of University, a member or members of the MSA Committee appointed by the MSA
Committee (each, a “Senior Designee”), who shall work together in good faith effort to resolve
the Dispute. If the Dispute cannot be resolved by the respective Party’s Senior Designees within
thirty (30) days of submission of the matter to such Senior Designees, then either Party may
proceed with an action or proceeding under Section 18.11.2 below.

                         18.11.2     The Parties agree to submit (the “Submission”) any dispute,
claim, or controversy arising out of or relating to this Agreement, including, but not limited to,
its creation, validity, interpretation or enforcement to JAMS for non-binding mediation. The
Parties agree that the Submission will be treated as Confidential Information and the fact of the
Submission and all details thereof shall not be disclosed to any third party except to the
mediators. The Submission shall be in writing and set forth with reasonable particularity the
grounds for the Submission. The Submission shall be filed with JAMS and sent to the other
Party simultaneously. The other Party shall serve a written response to the Submission within
five (5) Business Days to both the originating Party and JAMS. The Parties will cooperate with
JAMS and with one another in selecting a mediator from a panel of neutrals and in promptly
scheduling the mediation proceedings. Any mediation conducted pursuant to this Agreement
shall be held in Phoenix, Arizona. If the Parties cannot agree on a mediator, JAMS will appoint
one. The Parties covenant that they will participate in the mediation in good faith and that they
will (a) bear their own attorneys’ fees, costs, and expenses in connection with the mediation; and
(b) share equally in the fees and expenses charged by the mediator. All offers, promises,
conduct, and statements, whether oral or written, made in the course of the mediation by either
Party, their agents, employees, experts, and attorneys, and by the mediator or any JAMS
employee are confidential, privileged, and inadmissible for any purpose, including impeachment,
in any arbitration or other proceeding involving the Parties, provided that evidence that is
otherwise admissible or discoverable shall not be rendered inadmissible or non-discoverable as a
result of its use in the mediation. If the Dispute is not resolved within thirty (30) days from the
date of the Submission of the Dispute to mediation (or such other date as the Parties may agree to
in writing), any Party may proceed forthwith with the initiation and administration of an
arbitration in accordance with the terms of this Section 18.11 (Dispute Resolution). The
mediation may, however, continue, if the Parties so agree, after the commencement of the
arbitration. Unless otherwise agreed by the Parties, the mediator shall be disqualified from
serving as arbitrator in the case.

                        18.11.3     The Parties agree that final and binding arbitration of the
Dispute shall be conducted through JAMS, before a single arbitrator and in accordance with the
JAMS Streamlined Arbitration Rules & Procedures. Such arbitration shall be the sole and
exclusive remedy for resolving any Disputes arising out of, or in any way related to this
Agreement, including, but not limited to its creation, validity, interpretation, or enforcement,
instead of any court action, which is hereby expressly waived. The Parties agree that the
arbitration will be treated as Confidential Information to the extent permitted by law and the fact
of the arbitration and all details thereof shall not be disclosed to any third party except to the
arbitrator. Any arbitration conducted pursuant to this Agreement shall be held in Phoenix,
Arizona. The Parties waive any argument that the selection of that venue is inconvenient or

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otherwise improper. The non-prevailing Party agrees to pay all expenses and reasonable
expenses and attorneys’ fees incurred by the prevailing Party.

               18.12 Certain Interpretive Matters.

                       18.12.1    Unless the context requires otherwise, (i) all references to
Sections or Exhibits are to Sections or Exhibits of or to this Agreement, (ii) words in the singular
include the plural and vice versa, (iii) the terms “include”, “includes” “including” means
“include, includes or including without limitation,” and (iv) the terms “herein,” “hereof,”
“hereunder” and words of similar import shall mean references to this Agreement as a whole
and not to any individual Section or portion hereof. All references to “$” or dollar amounts will
be to lawful currency of the United States of America. All references to “$” or dollar amounts,
or “%” or percent or percentages, shall be to precise amounts and not rounded up or down. All
references to “day” or “days” will mean calendar days.

                       18.12.2     No provision of this Agreement will be interpreted in favor of,
or against, any of the parties by reason of the extent to which any such party or its counsel
participated in the drafting thereof or by reason of the extent to which any such provision is
inconsistent with any prior draft of this Agreement or such provision.

                                    [Signature Page Follows]




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                                          EXHIBIT A

                                          DEFINITIONS

        “Access” refers to the ability of authorized agents, officers, directors and employees of
Provider to (a) enter and exit the Campus or other facilities of the University as reasonably
necessary to perform the Services (including the use, consistent with the use prior to the date
hereof, of the executive office space on the fourth floor of the Student Life Building), (b) review
and analyze relevant Books and Records of University (including copies) as reasonably
necessary for the performance of the Services, and (c) consult with any employees of University
as reasonably necessary to perform the Services under this Agreement.

       “Accrediting Body” means any governmental or non-governmental entity, including,
without limitation, any institutional and/or specialized accrediting agency, that engages in the
granting or withholding of accreditation of postsecondary educational institutions or programs in
accordance with standards relating to the performance, operations, financial condition or
academic standards of such institutions, including, without limitation, HLC.

        “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
controls, or is controlled by, or is under common control with, the Person specified. For the
foregoing purposes, “control” means the ownership of more than fifty percent (50%) of the
securities entitled to elect the board of directors or other managing or governing body of such
Person.

         “Aggregated Data Sets” has the meaning set forth in Section 10.13 (Aggregated Data
Sets).

       “Agreement” has the meaning set forth in the preamble of this Agreement, and this
Master Services Agreement, including, the cover page, preamble, exhibits, schedules,
attachments, addendums and any future amendments hereto and all Services Addenda, all of
which are incorporated herein by reference.

      “Alternate Designee” has the meaning set forth in Section 3.11 (Points of Contact;
Designees).

        “Applicable Law” means any laws, statutes, rules, regulations, ordinances, orders, codes,
arbitration awards, judgments, decrees or other legal requirements of any Governmental Entity or
Educational Agency, including any Educational Law, applicable to a Party.

         “Asset Purchase Agreement” has the meaning set forth in the Recitals to this Agreement.

       “Audited Financial Statements” means, as to any Party, such Party’s income statement,
balance sheet, cash flow statement and footnotes prepared in accordance with GAAP
consistently applied and certified by such Party’s auditor.




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      “Back-Office Services Functions” means the Services described in Section 7 of Exhibit
B (Accounting Services), Section 8 of Exhibit B (Financial Aid Services), Section 11 of Exhibit
B (Human Resources), and Section 12 of Exhibit B (Technology).

         “Books and Records” means originals (or true, correct and complete copies) of all
business, accounting, Tax and financial records, files, lists, ledgers, correspondence, studies,
reports databases and other documents (whether in hard copy, electronic or other form),
including: (a) all analysis reports, advertising, promotional and marketing materials and creative
material, and (b) all records and lists relating to customers, vendors or personnel (including
customer lists or databases, vendor lists or databases, mailing lists or databases, e-mail address
lists or databases, recipient lists or databases, sales records, credit information, correspondence
with customers, customer files and account histories, supply lists and records of purchases from
and correspondence with vendors), but shall exclude the student records.

       “Breach” has the meaning set forth in Section 3.7.4 (Provider’s Compliance with Certain
Educational Laws).

       “Business Days” means each day (a) on which banks are open for business in Phoenix,
Arizona, and (b) for purposes of calculating any time periods set forth in Exhibit B, designated as
a working day by University for its employees.

       “Campus” means that certain real property located at 3300 West Camelback Road,
Phoenix, Arizona 85017, all improvements thereon, and any equipment related thereto, together
with any other property or location where University offers or supports Courses or Programs, in
each case owned or otherwise used by University in the conduct of its Educational Activities.

       “Claim” has the meaning set forth in Section 8.1 (Indemnification of University).

       “Code” means the Internal Revenue Code of 1986, as amended.

       “Confidential Information” has the meaning set forth in Section 9.1 (Definition).

       “Course” means those academic courses offered as part of a Program administered by
University.

        “Course Materials” means, collectively, syllabi and resource material and content for the
Courses, including concepts, materials, resources and text requirements, self-study materials,
case studies, curricula and such other items or materials, in all forms and media, relating to the
Courses and the Programs or as is otherwise used by University and/or its Affiliates in
connection with the offering and delivery of the Programs, in each case (a) any Improvements
thereto made by Provider for University and/or its Affiliates from time to time in connection
with the performance of the Services (which Course Materials, together with such
Improvements, shall be owned by University as University Intellectual Property) or (b) as
otherwise owned, created or developed by University.

       “Credit Agreement” means that certain Credit Agreement, dated the date hereof, between
University (as Borrower) and Provider (as Lender), as the same may be amended from time to

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time, pursuant to which University issued the Senior Secured Note to Provider in consideration
for the Schools Assets acquired under the Asset Purchase Agreement.

       “Defaulting Party” has the meaning set forth in Section 6.4 (Termination of Agreement
for Breach).

       “Designee” has the meaning set forth in Section 3.11 (Points of Contact; Designees).

       “Disclosing Party” has the meaning set forth in Section 9.2 (Obligations).

       “Dispute” has the meaning set forth in Section 18.11.1 (Dispute Resolution).

       “DOE” means the United States Department of Education and any successor agency
administering student financial assistance under Title IV.

       “Early Termination Fee” means an amount equal to one-hundred percent (100%) of the
aggregate Services Fees paid or payable by University to Provider for the trailing twelve (12)
month period ended as of the end of the month immediately prior to the effective date of
termination.

        “Educational Activities” means the operation of an institution of higher education for
general educational purposes (including the conferring of academic degrees, diplomas, honors or
certificates) on the Campus, as such activities are conducted by University as of the Effective
Date and thereafter.

         “Educational Agency” means any entity or organization, whether governmental,
government chartered, tribal, private, or quasi-private, that engages in granting or withholding
Educational Approvals for postsecondary educational institutions in accordance with standards
relating to the performance, operation, financial condition, or academic standards of such
institutions, including the DOE, any Accrediting Body, or any State Educational Agency.

        “Educational Approval” means, with respect to any Person, any license, permit,
authorization, certification, accreditation, or similar approval, issued or required to be issued by
an Educational Agency to such Person or with respect to its locations, Courses or Programs,
including any such approval for such Person to participate in any Title IV Program or any other
government-sponsored or private student financial assistance program offered by any
Educational Agency pursuant to which student financial assistance, grants or loans are provided
to or on behalf of such Person’s students by such Educational Agency.

       “Educational Consent” means any pre-approval, approval, authorization or consent by
any Educational Agency, or any notification to be made by the Parties to an Educational Agency,
which is necessary under Educational Law in order to maintain or continue any Educational
Approval held by University or to continue or further the conduct of the Educational Activities.

        “Educational Law” means any federal, state, municipal, foreign or other law, regulation,
order, Accrediting Body standard or other requirement applicable thereto, including, without
limitation, the provisions of Title IV of the HEA and any regulations or written guidance

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implementing or relating thereto, issued or administered by, or related to, any Educational
Agency.

       “Effective Date” has the meaning set forth in the preamble of this Agreement.

       “Examination Notice” has the meaning set forth in Section 5.4 (Examinations).

       “Exclusive Services” has the meaning set forth in Section 3.1 (Services to be Provided;
Exclusivity).

       “FERPA” has the meaning set forth in Section 3.7.2 (Provider’s Compliance with
Certain Educational Laws).

        “Fiscal Year” means the fiscal year of University starting July 1 and ending on June 30
of the following calendar year.

       “Governmental Entity” means any governmental authority or entity, including any
agency, board, bureau, commission, court, department, subdivision or instrumentality thereof, or
any arbitrator or arbitration panel, including any Educational Agency.

       “Guidance” has the meaning set forth in Section 3.7.7 (Provider’s Compliance with
Certain Educational Laws).

       “HEA” means the Higher Education Act of 1965, 20 U.S.C. § 1001 et seq., as amended,
or successor statutes thereto.

       “HLC” means the Higher Learning Commission of the North Central Association of
Colleges and Schools.

       “Improvements” has the meaning set forth in Section 10.3 (License to Course Materials).

      “Independent Accounting Firm” has the meaning set forth in Section 5.4.5
(Examinations).

        “Initial Term” has the meaning set forth in Section 6.1 (Term).

       “Intellectual Property” has the meaning set forth in Section 10.1 (Definitions).

       “IRS” means the United States Internal Revenue Service.

       “MSA Committee” means the “MSA Committee” as such term is defined in University’s
bylaws as in effect on the date hereof and as the same may be amended from time to time. In
addition to members of University’s board of trustees, the MSA Committee may include, if and
to the extent permitted by University’s bylaws, one or more additional non-trustee members,
who may be members of the administration, faculty and/or students.

      “Non-Defaulting Party” has the meaning set forth in Section 6.4 (Termination of
Agreement for Breach).

                                          Exhibit A-4
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        “Non-Renewal Fee” means an amount equal to fifty (50%) of the aggregate Services
Fees paid or payable by University to Provider for the trailing twelve (12) month period ended as
of the end of the month immediately prior to the last day of such Initial Term or Renewal Term,
as applicable.

       “Owner Party” has the meaning set forth in Section 10.2 (Ownership) .

       “Party” and “Parties” have the meaning set forth in the preamble to this Agreement.

       “Payment Failure” has the meaning set forth in Section 5.4.4 (Examination).

       “Performance Failure” has the meaning set forth in Section 5.4.4 (Examinations).

       “Person” means any individual or entity.

      “Personal Information” has the meaning set forth in Section 3.7.1 (Provider’s
Compliance with Certain Educational Laws).

      “Platform” has the meaning set forth in Section 12.1 (Technology) of Exhibit B to this
Agreement.

        “Programs” means all graduate degree programs, undergraduate degree programs,
certificate programs, professional studies programs or other educational programs offered by
University from time to time.

       “Provider” has the meaning set forth in the preamble to this Agreement.

       “Provider Indemnitees” has the meaning set forth in Section 8.2 (Indemnification of
Provider).

      “Provider Intellectual Property” has the meaning set forth in Section 10.1.3
(Ownership).

       “Quality Control Standards” has the meaning given to it in Section 10.9.2 (Quality
Control).

       “Receiving Party” has the meaning set forth in Section 9.2 (Obligations).

       “Renewal Term” has the meaning set forth in Section 6.1 (Term).

       “Senior Designee” has the meaning set forth in Section 18.11.1 (Dispute Resolution).

       “Senior Secured Note” means that certain senior secured note or notes issued by
University to Provider pursuant to the Credit Agreement.

       “Services” means the services set forth in this Agreement or any Exhibit hereto, or on one
or more Services Addenda.

       “Services Addenda” has the meaning set forth in Section 3.3 (Services Addenda).
                                          Exhibit A-5
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      “Services Fees” has the meaning set forth in Section 5.1 (Services Fees; Payment
Terms).

       “Services Personnel” has the meaning set forth in Section 3.9 (Services Personnel).

       “Services Transfer Notice” has the meaning set forth in Section 6.9 (Assumption of
Certain Services Functions).

        “State Educational Agency” means any state educational licensing body that (a) provides
a license, authorization or exemption necessary for University to conduct its Educational
Activities in that state, whether at a physical location, online or through other distance education
delivery methods, or (b) administers any student financial aid programs at the state level.

       “Submission” has the meaning set forth in Section 18.11.2 (Dispute Resolution).

        “Tax” means any tax, levy, impost, duty or other charge or withholding of a similar
nature (including any penalty or interest payable in connection with any failure to pay or any
delay in paying any of the same) imposed or required by Applicable Law.

       “Title IV” means Title IV of the HEA, and any amendments or successor statutes thereto.

       “Title IV Program” means any program of student financial assistance administered
pursuant to Title IV as set forth at 34 C.F.R. § 668.1(c).

       “Transition Period” has the meaning set forth in Section 6.8 (Transition Services).

       “Transition Services” has the meaning set forth in Section 6.8 (Transition Services).

       “University” has the meaning set forth in the preamble to this Agreement. Unless the
context otherwise requires, references herein to “University” include references to the
postsecondary educational institution known as “Grand Canyon University” that is operated by
University.

       “University Bylaws” means the bylaws of University as in effect on the date hereof and
as may be amended and/or amended and restated from time to time after the date hereof.

       “University Indemnitees” has the meaning set forth in Section 8.1 (Indemnification of
University).

       “University Intellectual Property” has the meaning set forth in Section 10.1.2
(Definition).

         “University Marks” means the trade names, registered domain names, service marks,
seals, trademarks, trade dress, corporate names and logos used by University or its Affiliates in
connection with the Educational Activities, including the Programs.

       “Updates” has the meaning set forth in Section 3.3 (Services Addenda).

                                        [End of Exhibit A]
                                           Exhibit A-6
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                                           EXHIBIT C

                                 FORM OF SERVICES ADDENDUM

        This SERVICES ADDENDUM (“SA”) is issued pursuant to, and incorporates by reference,
that certain Master Services Agreement (as the same may be amended from time to time, the
“Agreement”) dated July 1, 2018 by and between Grand Canyon University, an Arizona non-
profit corporation formerly known as Gazelle University (“University”), and Grand Canyon
Education, Inc., a Delaware corporation (“Provider”). This SA is effective as of the date set
forth below (the “SA Effective Date”). In the event of a conflict between the terms and
conditions of this SA and the terms and conditions in the body of the Agreement, the terms and
conditions of the Agreement shall control to the extent of the conflict (unless this SA specifically
identifies and overrides the conflicting term(s) and condition(s), in which event, the terms of this
SA shall control for this SA only).

      Unless otherwise defined in this SA, the capitalized terms used herein shall have the
meanings ascribed to them in the Agreement.

       The purpose of this Services Addendum is to describe new Services, and related
Deliverables and Specifications, that the Parties agree should be provided by Provider to
University under the Agreement and, if applicable, describe payment terms for such new
Services if payment is not intended to be covered by the arrangement described on Exhibit D to
the Agreement.

1.     SA Effective Date: ___________, 20__

2.     Services.

       Provider shall perform the following Services, subject to the terms and conditions in this
       SA and the Agreement:

               [Insert a detailed description of the Services that Provider shall perform.]

3.     Deliverables.

       The deliverables (“Deliverables”) Provider shall provide to University under this SA are
       as follows:

               [Insert a description of the tangible deliverables that will be delivered to
               University, if any.]

               [See comments below in the Section titled “Intellectual Property” regarding
               which party will own the Intellectual Property developed under this SA, including
               any Intellectual Property in the Deliverables.]

4.     Specifications.



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       The Services and Deliverables shall substantially conform to the following
       Specifications:

               [Insert the specifications, requirements and testing criteria applicable to the
               Services and the Deliverables, if any.]

5.     Time Schedule and Meetings.

       [Insert the time schedule for the provision of the Services and Deliverables, including any
       deadlines for the delivery of the Services and Deliverables, and the time and place for
       any scheduled meetings.]

6.     Points of Contact.

       For Provider:

       For University:

7.     Term and Termination.

       [Insert the term of the SA and termination rights.]

8.     Services Fees and Payment.

       a. Services Fees:

               [Insert a description of the Services Fees for the Services and Deliverables if
               intended not to be covered by Exhibit D of the Agreement.]

       b. Payment Terms:

               [Insert the payment terms, if intended not to be covered by Exhibit D of the
               Agreement.]

9.     Intellectual Property.

       [If the Services will result in the development of new Intellectual Property, then indicate
       whether such Intellectual Property will be owned by University as University Intellectual
       Property as contemplated by Section 10.2.2 (Ownership) of the Agreement or whether
       such Intellectual Property will remain the property of Provider. If such Intellectual
       Property is not University Intellectual Property and will therefore be owned by Provider,
       then specify what, if any, licenses are granted to University to use such Intellectual
       Property. If such Intellectual Property will be owned by University as University
       Intellectual Property, then specify what, if any, licenses are granted to Provider to use
       such Intellectual Property.]




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10.      Licenses to Third Party Technology or Materials.

         a. Description: [Insert a detailed description of any licenses or other rights to
         technology, content or other materials required from any third party for the performance
         of the Services or the Deliverables.]

         b. Parties: [Indicate who will obtain the license: Provider or University.]

         c. Fees: [Include fees, payment terms and responsible party.]

         d. Term: [Indicate license term.]

11.      Licenses to Provider Technology or Materials.

         a. Grant: [Include a grant of any licenses or other rights to technology, content or other
         materials from Provider to University or from University to Provider for the performance
         of the Services or the Deliverables, or attach a separate license agreement.]

         b. Fees: [Include fees and payment terms.]

         c. Term: [Indicate license term.]

         d. Other: [Include any other license terms.]

12.      Subcontracting.

         [Include any limits on subcontracting. See Section 3.2 of the Agreement.]

13.      Other Terms.

         [Insert a description of any additional terms or conditions applicable to the Services to
         be provided under this SA.]


IN WITNESS WHEREOF, an authorized representative of each Party has executed this SA as of
the SA Effective Date written above.

Grand Canyon University                           Grand Canyon Education, Inc.

Signature:                                        Signature:


Name:                                             Name:


Title:                                            Title:


                                         [End of Exhibit C]
                                             Exhibit C-3
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                                         EXHIBIT E

                                      UNIVERSITY MARKS

 Registered Trademarks

                        Mark                             U.S. Reg. No.   U.S. Reg. Date
GRAND CANYON UNIVERSITY® (for apparel and
                                                          5,421,628        03/13/18
 expanded services)

GCU LEARNING LOUNGE®                                      5,372,732        01/08/18



                                                          5,357,629        12/19/17

                ®

STAMPEDE®                                                 5,325,489        10/31/17

GCBC®                                                     5,266,093        08/15/17

LOPES UP!® (for shirts)                                   5,252,228        07/25/17

GCU (Varsity Stylized), non-color
                                                          5,216,662        06/06/17
(for apparel, other merchandise):                 ®

FIND YOUR PURPOSE®                                        5,211,666        05/30/17

CANYON® (for streaming music services)                    5,121,212        01/10/17

LOPES® (for athletic events, etc.)                        5,094,661        12/06/16

LOPES UP!® (for athletic events, etc.)                    5,082,360        11/15/16

GCU (Varsity Stylized), non-color
                                                          5,086,797        11/22/16
(for athletic events, etc.):                      ®

CANYON® (for athletic events, etc.)                       4,948,974        05/03/16


GCU (Stylized), non-color:                                4,939,057        04/19/16
                                                   ®
SCHOOL HOUSE CHALK®                                       4,772,979        07/14/15



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                             Mark                    U.S. Reg. No.   U.S. Reg. Date
Antelope Design in colors Purple
                                                       4,724,550       04/21/15
and Black:
                                                 ®

'LOPES and Antelope Design,
                                                       4,724,541       04/21/15
non-color:
                                                 ®
Antelope Design in colors Purple
                                                       4,633,637       11/04/14
and Black:
                                                 ®

'LOPES and Antelope Design,
                                                       4,633,605       11/04/14
non-color:
                                                 ®
DC NETWORK®                                            4,496,361       03/11/14

‘LOPES        and Antelope    Design
                                                       4,446,483       12/10/13
in color:
                                                 ®

GRAND              CANYON
UNIVERSITY
                                                       4,124,765       04/10/12
ARIZONA 1949 and Design, non-
color:
                                                 ®
GRAND CANYON UNIVERSITY ®                              3,039,105       01/10/06
RISE TO THE CHALLENGE OF LEADERSHIP ®                  4,096,375       02/07/12




                                       Exhibit E-2
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Pending Trademark Applications

                        Mark                             U.S. Appl. No.    U.S. Filing Date
CYBER LOPES                                                87/305,915          01/18/17

HACKERS WITH HALOS                                         87/186,903          09/28/16

                              State Trademarks and Trade Names
Registered Trade Names

State               Trade Name                           Reg. No.           Reg. Date
 AZ       DC NETWORK                                     521700             06/01/11
 AZ       DOCTORAL COMMUNITY NETWORK                      521690            06/01/11
          RISE TO THE           CHALLENGE       OF
 AZ                                                       521656            06/01/11
          LEADERSHIP
 ND       GRAND CANYON UNIVERSITY                        28164100           12/11/10
 AZ       GRAND CANYON UNIVERSITY                         502591            10/18/10
 AZ       FIND YOUR PURPOSE                               493655            06/22/10
 AZ       ‘LOPES                                          451860            01/23/09
 AZ       THUNDER ‘LOPE                                   451859            01/23/09
 AZ       HEAR THE THUNDER, FEAR THE ‘LOPE                451858            01/23/09
 AZ       LEADING AT A HIGHER LEVEL                       451856            01/23/09



          (a) Domain Names1

    1.          ACCREDITEDONLINEPHD.COM
    2.          APPLYGCU.COM
    3.          APPLYGCU.NET
    4.          BLANCHARDMBA.COM
    5.          CANYON.COFFEE
    6.          CANYON49.COM
    7.          CANYON49.RESTAURANT
    8.          CANYON49.REVIEWS
    9.          CANYON49GRILL.COM
    10.         CANYONANGEL.ORG
    11.         CANYONANGELS.COM

1
  The list of domain registrations includes domains not currently in use and some derogatory
domains purchased as a protective measure to prevent third parties from registering and using
them.
                                          Exhibit E-3
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            12.         CANYONANGELS.ORG
            13.         CANYONBEVCO.COM
            14.         CANYONED.COM
            15.         CANYONEDU.COM
            16.         CANYONENTERPRISES.COM
            17.         CANYONENTERPRISES.ORG
            18.         CANYONEVENTS.COM
            19.         CANYONEVENTS.MOBI
            20.         CANYONEXCHANGE.COM
            21.         CANYONMUSICFESTIVAL.COM
            22.         CANYONPROMOTIONS.COM
            23.         CAREERANDCOLLEGES.COM
            24.         CEELEARNING.COM
            25.         CENTERFORCHRISTIANARTS.COM
            26.         CENTERFORCHRISTIANARTS.ORG
            27.         CHOOSEDISTRICTSCHOOLS.COM
            28.         CHOOSEDISTRICTSCHOOLS.ORG
            29.         CHOOSEGCU.COM
            30.         CIRTFACULTY.COM
            31.         CLUBGCU.COM
            32.         COLLEGEOF.EDUCATION
            33.         COREVALUESCORP.COM
            34.         CREDITSFORLIFE.COM
            35.         DISTRICTARIZONA.COM
            36.         DISTRICTAZ.COM
            37.         DRINKSTAMPEDE.COM
            38.         EDUCATIONPHD.COM
            39.         EDUSERVICES.COM
            40.         ENERGYSTAMPEDE.COM
            41.         ENROLLGCU.COM
            42.         EXCHANGECANYON.COM
            43.         FUCKGCU.COM
            44.         FUCK-GCU.COM
            45.         FUCKGCU.NET
            46.         FUCK-GCU.NET
            47.         FUCKUGCU.COM
            48.         FUCKU-GCU.COM
            49.         FUCK-U-GCU.COM
            50.         FUCKUGCU.NET
            51.         FUCKU-GCU.NET
            52.         FUCK-U-GCU.NET
            53.         FUCKYOUGCU.COM
            54.         FUCKYOU-GCU.COM
            55.         FUCK-YOU-GCU.COM
            56.         FUCKYOUGCU.NET
            57.         FUCKYOU-GCU.NET
            58.         FUCK-YOU-GCU.NET
            59.         FUGCU.COM
                                               Exhibit E-4
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            60.         FU-GCU.COM
            61.         F-U-GCU.COM
            62.         FUGCU.NET
            63.         FU-GCU.NET
            64.         F-U-GCU.NET
            65.         FUTURELOPE.COM
            66.         FUTURELOPECSET.COM
            67.         FUTURELOPECWA.COM
            68.         FUTURELOPESTEM.COM
            69.         GCBEVCO.COM
            70.         GCBEVERAGECO.COM
            71.         GCEDSERV.COM
            72.         GCEDSERVICES.COM
            73.         GCEDUCATIONALSERVICES.COM
            74.         GCEDUCATIONSERVICES.COM
            75.         GCESERV.COM
            76.         GCU.COFFEE
            77.         GCU.NET
            78.         GCU.REVIEWS
            79.         GCU.SOCCER
            80.         GCU.TODAY
            81.         GCU.UNIVERSITY
            82.         GCU.WTF
            83.         GCU.XXX
            84.         GCU4ME.COM
            85.         GCU4U.COM
            86.         GCUACAPELLA.COM
            87.         GCUALUMNI.COM
            88.         GCUAPPS.COM
            89.         GCUARENA.COM
            90.         GCUARENA.NET
            91.         GCUARENA.ORG
            92.         GCUATHLETICS.COM
            93.         GCUBEACHVOLLEYBALL.COM
            94.         GCUBEVERAGECO.COM
            95.         GCUBLOWS.COM
            96.         GCU-BLOWS.COM
            97.         GCUBLOWS.NET
            98.         GCU-BLOWS.NET
            99.         GCUBLOWS.ORG
            100.        GCUCAMPUS.COM
            101.        GCUCAMPUS.NET
            102.        GCUCLUBBASEBALL.COM
            103.        GCUCLUBGOLF.COM
            104.        GCUCLUBHOCKEY.COM
            105.        GCUCLUBTENNIS.CLUB
            106.        GCUCLUBWRESTLING.COM
            107.        GCUCOLLEGE.COM
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            108.        GCUCOLLEGEONLINE.COM
            109.        GCUCROSSCOUNTRY.COM
            110.        GCUCYCLING.COM
            111.        GCUEDONLINE.COM
            112.        GCUEDU.COM
            113.        GCUEDU.MOBI
            114.        GCUEDUCATE.COM
            115.        GCUEDUCATIONONLINE.COM
            116.        GCUEDUCATIONSUCKS.COM
            117.        GCU-EDUCATION-SUCKS.COM
            118.        GCUEDUCATIONSUCKS.NET
            119.        GCU-EDUCATION-SUCKS.NET
            120.        GCUEMBASUCKS.COM
            121.        GCUEMBASUCKS.NET
            122.        GCU-EMBA-SUCSKS.COM
            123.        GCU-EMBA-SUCSKS.NET
            124.        GCUENROLL.COM
            125.        GCUEVENTS.COM
            126.        GCUFLAGFOOTBALL.COM
            127.        GCUGOLF.ACADEMY
            128.        GCUGOLF.COM
            129.        GCUGOLF.REVIEWS
            130.        GCUGRADSCHOOL.COM
            131.        GCUHAVOC.COM
            132.        GCUHAVOCS.COM
            133.        GCUHELL.COM
            134.        GCU-HELL.COM
            135.        GCUHELL.NET
            136.        GCU-HELL.NET
            137.        GCUHELL.ORG
            138.        GCUHOCKEY.COM
            139.        GCUHOTEL.COM
            140.        GCUHOTEL.REVIEWS
            141.        GCUHOTELBOOKING.COM
            142.        GCUHOTELDEALS.COM
            143.        GCUICEHOCKEY.COM
            144.        GCUISCRAP.COM
            145.        GCU-IS-CRAP.COM
            146.        GCUISCRAP.NET
            147.        GCU-IS-CRAP.NET
            148.        GCUISSHIT.COM
            149.        GCU-IS-SHIT.COM
            150.        GCUISSHIT.NET
            151.        GCU-IS-SHIT.NET
            152.        GCUJOURNAL.COM
            153.        GCULACROSSE.COM
            154.        GCULEARN.COM
            155.        GCULICENSING.COM
                                              Exhibit E-6
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            156.        GCULOP.ES
            157.        GCULOPECOUNTRY.COM
            158.        GCULOPES.MOBI
            159.        GCULOPES.TV
            160.        GCULOPESCOUNTRY.COM
            161.        GCUMAIL.COM
            162.        GCUMAIL.NET
            163.        GCUMBASUCKS.COM
            164.        GCU-MBA-SUCKS.COM
            165.        GCUMBASUCKS.NET
            166.        GCU-MBA-SUCKS.NET
            167.        GCUMEDIA.COM
            168.        GCUMENSCLUBSOCCER.COM
            169.        GCUMISSIONS.COM
            170.        GCUNOW.COM
            171.        GCUNURSESSUCK.COM
            172.        GCU-NURSES-SUCK.COM
            173.        GCUNURSESSUCK.NET
            174.        GCU-NURSES-SUCK.NET
            175.        GCUNURSINGSUCKS.COM
            176.        GCU-NURSING-SUCKS.COM
            177.        GCUNURSINGSUCKS.NET
            178.        GCU-NURSING-SUCKS.NET
            179.        GCUONLINE.NET
            180.        GCUONLINEPROGRAMS.COM
            181.        GCUPOC.COM
            182.        GCUPURPOSE.COM
            183.        GCURACESERIES.COM
            184.        GCURESORT.COM
            185.        GCURESTAURANT.COM
            186.        GCUROCKS.COM
            187.        GCUSCHOOL.COM
            188.        GCUSOCCER.COM
            189.        GCUSTORE.COM
            190.        GCUSTUDENTLOANFORGIVENESS.COM
            191.        GCUSUCKS.COM
            192.        GCU-SUCKS.COM
            193.        GCUSUCKS.NET
            194.        GCU-SUCKS.NET
            195.        GCUSUCKS.ORG
            196.        GCUSWIMMING.COM
            197.        GCUTEAMSHOP.COM
            198.        GCUTENNIS.COM
            199.        GCUTHUNDER.COM
            200.        GCUTHUNDERTICKET.COM
            201.        GCUTICKETS.COM
            202.        GCUTIX.COM
            203.        GCUTODAY.COM
                                              Exhibit E-7
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            204.        GCUTRIATHLON.COM
            205.        GCUTV.COM
            206.        GCUULTIMATEFRISBEE.COM
            207.        GCUVOLLEYBALL.COM
            208.        GCUWOMENSCLUBSOCCER.COM
            209.        GODGIVENTALENT.TV
            210.        GRANDCANYON.EDUCATION
            211.        GRANDCANYONBEVERAGE.CO
            212.        GRANDCANYONBEVERAGE.COM
            213.        GRANDCANYONBEVERAGECO.COM
            214.        GRANDCANYONED.COM
            215.        GRANDCANYONEDUCATION.COM
            216.        GRANDCANYONEDUCATIONALSERVICES.COM
            217.        GRANDCANYONEDUCATIONSERVICES.COM
            218.        GRANDCANYONLOANFORGIVENESS.COM
            219.        GRANDCANYONUNIVERSITY.NET
            220.        GRAND-CANYON-UNIVERSITY.NET
            221.        GRANDCANYONUNIVERSITY.WTF
            222.        GRANDCANYONUNIVERSITY.XXX
            223.        GRANDCANYONUNIVERSITYARENA.COM
            224.        GRANDCANYONUNIVERSITYARENA.NET
            225.        GRANDCANYONUNIVERSITYARENA.ORG
            226.        GRANDCANYONUNIVERSITYINFO.COM
            227.        GRANDCANYONWOMENSLACROSSE.COM
            228.        GRANDCE.COM
            229.        GROWINGMYPURPOSE.COM
            230.        HERDONCAMPUS.COM
            231.        IHATEGCU.COM
            232.        IHATEGCU.NET
            233.        IHATEGCU.ORG
            234.        INSTANTKNOODLES.COM
            235.        INSTRUCTIONALRESEARCH.COM
            236.        JBTSONLINE.ORG
            237.        JOINGCU.COM
            238.        LEARNGCU.COM
            239.        LOPE.MOBI
            240.        LOPEALOOZA.COM
            241.        LOPEALOOZA.INFO
            242.        LOPEALOOZA.NET
            243.        LOPEALOOZA.ORG
            244.        LOPECOUNTRY.COM
            245.        LOPEHOUSE.COM
            246.        LOPEHOUSE.RESTAURANT
            247.        LOPEHOUSE.REVIEW
            248.        LOPES.TV
            249.        LOPES.XXX
            250.        LOPESCOUNTRY.COM
            251.        LOPESHOP.COM
                                              Exhibit E-8
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            252.        LOPESHOP.NET
            253.        LOPESHOPS.COM
            254.        LOPESHOPS.NET
            255.        LOPESLICENSING.COM
            256.        LOPESPORTAL.COM
            257.        LOPESTEAMSHOP.COM
            258.        LOPESTHUNDER.COM
            259.        LOPESTICKET.COM
            260.        LOPESTICKETS.COM
            261.        LOPESTIX.COM
            262.        LOPESTORE.COM
            263.        LOPESTV.COM
            264.        LOPETEAMSHOP.COM
            265.        LOPETICKET.COM
            266.        LOPETICKETS.COM
            267.        LOPEZTICKET.COM
            268.        LOPEZTICKETS.COM
            269.        MADEGREES.COM
            270.        MASTERSONLINE.COM
            271.        MSDEGREES.COM
            272.        MYGCUFUTURE.COM
            273.        MYGIVENPURPOSE.COM
            274.        MYTRANSFERCREDITS.COM
            275.        PAINTTHEVALLEYPURPLE.COM
            276.        PHDEDUCATION.COM
            277.        PROFESSIONALSTUDIES.COM
            278.        PROFESSIONALSTUDIES.NET
            279.        RANKINGONLINESCHOOLS.COM
            280.        RESOLUTION2011.COM
            281.        RESOLUTION2011.NET
            282.        RESOLUTION2011.ORG
            283.        RESOLUTION2012.COM
            284.        RESOLUTION2012.NET
            285.        RESOLUTION2012.ORG
            286.        RESOLUTION2013.NET
            287.        RESOLUTION2013.ORG
            288.        RESOLUTION2014.COM
            289.        RESOLUTION2014.NET
            290.        RESOLUTION2014.ORG
            291.        RESOLUTION2015.COM
            292.        RESOLUTION2015.NET
            293.        RESOLUTION2015.ORG
            294.        RESOLUTION2016.COM
            295.        RESOLUTION2016.NET
            296.        RESOLUTION2016.ORG
            297.        RESOLUTION2017.COM
            298.        RESOLUTION2017.NET
            299.        RESOLUTION2017.ORG
                                              Exhibit E-9
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      300.        RESOLUTION2018.COM
      301.        RESOLUTION2018.NET
      302.        RESOLUTION2018.ORG
      303.        RESOLUTION2019.COM
      304.        RESOLUTION2019.NET
      305.        RESOLUTION2019.ORG
      306.        RESOLUTION2020.NET
      307.        RESOLUTION2020.ORG
      308.        RESOLUTION2021.COM
      309.        RESOLUTION2021.NET
      310.        RESOLUTION2021.ORG
      311.        RESOLUTIONFEST.COM
      312.        RESOLUTIONFESTIVAL.COM
      313.        RESOLUTIONFESTIVAL.ORG
      314.        RESOURCECLOSET.COM
      315.        ROCKATGCU.COM
      316.        RUNTOFIGHTCANCER.COM
      317.        RUNTOFIGHTCANCER.ORG
      318.        SCHOOLHOUSECHALK.COM
      319.        SCHOOLSINPHOENIX.COM
      320.        SCREWGCU.COM
      321.        SCREW-GCU.COM
      322.        SCREWGCU.NET
      323.        SCREW-GCU.NET
      324.        SHAREMYPURPOSE.COM
      325.        SHOWINGPURPOSE.COM
      326.        SHOWMYPURPOSE.COM
      327.        STAMPEDEDRINK.COM
      328.        STUDENTLOANFORGIVENESSGCU.COM
      329.        STUDENTLOANFORGIVENESSGRANDCANYONUNIVERSITY.COM
      330.        TALKTOBRENDA.COM
      331.        TEACHFORPURPOSE.COM
      332.        TEACHINGPHD.COM
      333.        THECENTERFORCHRISTIANARTS.COM
      334.        THECENTERFORCHRISTIANARTS.ORG
      335.        THECOLLEGEGOSSIP.COM
      336.        THETHUNDERGROUND.COM
      337.        THUNDERLOPES.COM
      338.        TOURGCU.COM
      339.        TRANSFERTOGCU.COM
      340.        TRANSFERYOURCREDITS.COM
      341.        UNITEDBYPURPOSE.COM
      342.        WORSHIPISOURFOOTBALL.COM
      343.        WORSHIPISOURFOOTBALL.INFO
      344.        WORSHIPISOURFOOTBALL.NET
      345.        WORSHIPISOURFOOTBALL.ORG
      346.        WORSHIPOLOGIST.COM

                                            Exhibit E-10
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